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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
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                                                                              EASTERN OJSTlitiCT ARKANSAS

CLEO WATKINS, PYLES FAMILY FARMS, LLC,
VICTOR HUTCHERSON, AL VELLA
HUTCHERSON, HELEN KNIGHT,                                               JAMESvrs;'
                                                                        By: ~/                     DE? CLERK
MICHAEL WATKINS, BETTY WATKINS,
& GEORGE CARNEY



v.                                  NO.   J •f U ti dt:2 - /JPl>f
LAWRENCE COUNTY, ARKANSAS,
JOHN THOMISON, in his official capacity as
County Judge of LAWRENCE COUNTY,
ARKANSAS, and WILLIAM POWELL,
DONALD RICHEY, LLOYD CLARK,
                                                       This case assigned to Oistric;t
                                                       and to Magistrate Judge
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                                                                                    , ,, -:c:-_.::;;-;.,.=_..;---
HEATH DAVIS, ERNEST BRINER,
RONALD INGRAM, TRACY MOORE,
KENNY JONES, & ALEX LATHAM,
in their official capacities as
members of the LAWRENCE COUNTY
QUORUM COURT                                                                    DEFENDANTS


                                       COMPLAINT

       Comes Plaintiffs, Cleo Watkins, Pyles Family Farms, LLC, Victor Hutcherson, Alvella

Hutcherson, Helen Knight, Michael Watkins, Betty Watkins, and George Camey ("Plaintiffs")

through their counsel PPGMR Law and for their complaint against Defendants Lawrence County,

Arkansas, John Thomison in his official capacity as County Judge for Lawrence County, Arkansas

and William Powell, Donald Richey, Lloyd Clark, Heath Davis, Ernest Briner, Ronald Ingram,

Tracy Moore, Kenny Jones, and Alex Latham in their official capacities as members of the

Lawrence County Quorum Court (together, "Lawrence County") state:




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                                  I.    NATURE OF THE ACTION

       This case concerns a bridge in Lawrence County, Arkansas over the West Cache River

Slough ("Slough"). Lawrence County negligently constructed the bridge in the early 2000s and

failed to consult the United States Army Corps of Engineers ("USACOE") or apply for a Clean

Water Act ("CWA") permit. Later, the USACOE approved a minor modification to the bridge in

2003 and agreed to grant the County an "after-the-fact" Section 404 permit under the CWA so

long as the bridge was maintained and debris cleared from the culverts to allow for proper flow.

Fairly quickly, Lawrence County abandoned its efforts to clear the bridge of debris, turning the

bridge into a dam and causing substantial sediment buildup. That sediment has choked off most of

the Slough from the Cache River proper, which in tum has caused substantial flooding of Plaintiffs'

lands and destruction of their crops. For almost two decades now, Lawrence County, through its

County Judge and Quorum Court, has refused to do anything to address the problems caused by

its negligently constructed and maintained bridge, all the while violating its CWA permit.

                            II.        JURISDICTION AND VENUE

        1.     Plaintiffs are property owners who reside and/or farm land along the Cache River

or its minor tributaries in Craighead County, Arkansas.

       2.      All Plaintiffs are residents of Craighead County, Arkansas or otherwise have their

principal place of business in Craighead County, Arkansas.

        3.     Defendant Lawrence County is a governmental body with its governing seat in

Walnut Ridge, Arkansas.

        4.     Defendant John Thomison, an Arkansas resident domiciled in Lawrence County, is

the County Judge of Lawrence County, Arkansas.




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        5.     Defendants William Powell, Donald Richey, Lloyd Clark, Heath Davis, Ernest

Briner, Ronald Ingram, Tracy Moore, Kenny Jones, and Alex Latham are Arkansas residents

domiciled in Lawrence County, Arkansas and currently serve as Justices of the Peace on the

Lawrence County Quorum Court.

        6.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§

1331, 1367, and 1343(a)(3).

        7.     The events giving rise to this claim occurred and continue to occur in Lawrence

County, Arkansas and Craighead County, Arkansas, which are within the Eastern District of

Arkansas. This Court has venue over this matter pursuant to 28 U.S.C. § 1391(b).

                                II.     STATEMENT OF FACTS

        8.     All Plaintiffs own and farm property in Craighead County next to the Cache River

and the southeastemmost portion of Lawrence County, Arkansas.

       9.      Plaintiffs have farmed their land for decades and many Plaintiffs are second or third

generation farmers.

        10.    The Slough is a relief canal that branches away from the Cache River less than one

mile southeast of Sedwick, Arkansas, approximately 1,000 feet south of the US Highway 63 bridge

over the Cache River.

        11.    The Slough parallels the Cache River for approximately nine miles before the two

channels merge at their confluence near Egypt, Arkansas at the Highway 91 bridge.

        12.    The USACOE constructed the Slough for flood relief of the Cache River in the

early twentieth century for flood relief.

        13.    Almost the entirety of the Slough is located within Lawrence County, except for

the Slough's eventual confluence with the Cache River, which is located in Craighead County.



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         14.   Lawrence County Road 717 crosses the Slough roughly one mile below where the

Slough diverges away from the Cache River.

         15.   For most of the second half of the twentieth century, Lawrence County maintained

a wooden bridge on County Road 717 across the Slough that had allowed landowners access to

their properties within the approximately twelve square miles between the Slough and the Cache

River.

         16.   This wooden bridge was set on pillars and had allowed passage of flood and stage

waters, along with various debris and sediment. A picture of the bridge is attached hereto as Exhibit

1.

         17.   At some point the wooden bridge became unfit for use and former Lawrence

County Judge Alex Latham ("Latham"), acting on behalf of Lawrence County, tore down and

replaced the wooden bridge in the late 1990s or early 2000s.

         18.   Latham chose to replace the wooden bridge with a crude dirt and concrete

embankment that had four rail boxcars acting as culverts to pass the entire flow in the Slough.

Pictures of this construction are attached as Exhibit 2.

         19.   Lawrence County and Latham did not consult an engineer, architect, or hydrologist

when constructing this new bridge (hereafter, "bridge"). The County's expense report for this

bridge is attached as Exhibit 3.

         20.   The new bridge possessed significant and obvious defects that would have been

apparent to a licensed engineer, architect, or hydrologist had Lawrence County consulted one.

         21.   Lawrence County made no plan for how to deal with the large number of logs,

debris, and sediment that the Cache River and Slough transport.




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        22.     Lawrence County did not consult with the USACOE or apply for a permit under

the CWA from the USACOE prior to constructing the new bridge.

        23.    The bridge culverts soon filled with sediment and debris, effectively turning the

"bridge" into a dam with only minimal water flow passing through.

        24.    As a result of this bridge, Plaintiffs-whose land adjoins the Cache River

downstream of the Slough's divergence away from the Cache River and upstream of the Slough's

eventual confluence with the Cache-suffered increased flooding on their lands that was unlike

any previous diffused surface water patterns.

        25.    On March 28, 2001, the Cache River Drainage District, through its attorney,

notified Latham of flooding problems and asked him to take remedial measures. A true and

complete copy of this letter is attached as Exhibit 4.

       26.     In April 2001, Plaintiffs informed Latham of their concerns about the bridge and

flooding. A true and complete copy of this correspondence is attached as Exhibit 5.

       27.     Latham replied through his counsel on May 3, 2001, claiming that the County had

no funds to remedy the situation and that the culverts were not causing any problems. A true and

complete copy of this letter is attached as Exhibit 6.

       28.     On June 8, 2001, the USACOE notified Latham that the bridge as constructed

violated Sections 301 and 404 of the CWA. A true and complete copy of this communication is

attached as Exhibit 7.

       29.     A USACOE hydraulic analysis conducted prior to this notification showed

potential for "adverse flooding upstream." See Exhibit 7.

       30.     After communicating with Lawrence County about the bridge, the USACOE

eventually gave Latham permission to install an additional culvert and agreed to issue an "after-



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the-fact" CWA Section 404 permit to Lawrence County on May 13, 2003. A true and complete

copy of this correspondence is attached as Exhibit 8.

        31.     Lawrence County's after-the-fact permit Section 404 permit was conditioned upon

the County's continued maintenance of the culverts, the removal of debris as needed to maintain

water flow, and other requirements. See Exhibit 8.

        32.    Debris again soon accumulated in the bridge culverts that (i) severely restricted

water flow downstream, (ii) caused a substantial silt buildup between the bridge and the mouth of

the Slough where it diverges from the Cache River, and (iii) created a large sandbar on the Cache

River main channel.

        33.    Plaintiff George Camey witnessed the sandbar upstream from the Lawrence County

bridge more than triple in size between 2001 and 2009 and communicated his concerns to the

County and the USACOE. A true and complete copy of this correspondence is attached as Exhibit

9.

        34.    The silt accumulation caused by the improperly constructed and maintained bridge

has choked off the Slough, diverting flow back into the Cache River proper during periods of

moderate to heavy flow.

       35.     Debris continues to accumulate at the bridge, causing silt to collect upstream and

create a hazardous sandbar in the Cache River proper. A satellite image of debris accumulation at

the bridge is attached as Exhibit 10.

       36.     Silt continues to build up in the Slough channel where the Slough diverges from

the Cache River.

       37.     Lawrence County and the Lawrence County Judge no longer make any effort to

maintain the bridge or ensure that the culverts are free of debris.



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          38.   Lawrence County has never undertaken efforts to alleviate the silt and sediment

buildup in the Slough channel upstream of the bridge to the Cache River proper.

          39.   Plaintiffs have experienced extensive flooding over their properties that was caused

by Lawrence County's failure to ensure unimpeded water and debris flow through the bridge's

culverts.

          40.   The flooding complained of by Plaintiffs did not previously occur with the

regularity and intensity that has occurred ever since Lawrence County first installed the new

bridge.

          41.   Plaintiffs had never lost crops in such large numbers as a result of floodwaters prior

to the bridge being installed.

          42.   This flooding has reliably occurred ever since the bridge was installed and can be

reasonably predicted to occur with moderate amounts of rain.

          43.   This flooding is over-and-above the natural flood events that can be reasonably

expected to occur along the segment of the Cache River between Sedgwick, Arkansas and Egypt,

Arkansas.

          44.   Plaintiffs have lost a substantial number of crops as a result of the bridge and

continue to lose crops every year from flooding.

          45.   Plaintiffs have lost portions of their stream banks along the Cache River proper and

its minor tributaries as a result of the bridge and continue to lose portions of their stream banks. A

photograph one such stream bank is attached hereto as Exhibit 11.

          46.   The bridge and resultant flooding have reduced Plaintiffs' property values and

utility and have negatively impacted Plaintiffs' welfare and ability to earn a living.




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        47.     Plaintiffs have reached out many times to Lawrence County seeking to have a

proper bridge installed over the Slough that does not restrict flow, but Lawrence County has

consistently rejected all attempts to resolve the issue.

                                   II.        STATEMENT OF CLAIMS

                      COUNT 1 - Violation of§ 404 of the Clean Water Act

        48.     All paragraphs in this Complaint are incorporated here by reference as if fully set

forth in Count 1.

        49.     Section 404 of the CWA forbids entities without a permit from discharging fill or

dredge material into waters of the United States.

        50.    The Slough is a "water of the United States," having been physically constructed

by the United States federal government and determined to be as such by the USACOE.

        51.    The USACOE previously found Lawrence County to be in violation of Section 404

in 2001 when it first installed the bridge.

        52.    A May 15, 2001 memorandum drafted by a USACOE hydrologist found that the

culverts "were not adequately sized" and that the bridge could lead to "potential adverse flooding

upstream." A true and complete copy of this memorandum obtained through the Freedom of

Information Act is attached hereto as Exhibit 12.

       53.     The USACOE demanded that the County either (i) install a fifth culvert to increase

flow and keep the culverts free of debris or (ii) rip down the new bridge and construct a properly-

designed structure.

       54.     Once Lawrence County installed an additional culvert, the USACOE granted an

"after-the-fact-permit" under the CWA to Lawrence County on May 13, 2003. See Exhibit 8.




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       55.     This permit determined that the bridge met "the requirements of Nationwide Permit

No. 14 provided that the enclosed conditions are met. Please pay special attention to the general

permit condition number 21 (Management of Water Flows). The crossing shall be maintained and

debris shall be removed as needed to allow for the passage of normal or expected high flows."

       56.     The USACOE's Nationwide Permit Number 14 contains a general condition for the

"Management of Water Flows," which states "To the maximum extent practicable, the pre-

construction course, condition, capacity, and location of open waters must be maintained for each

activity, including stream channelization and storm water management activities, except as

provided below. The activity must be constructed to withstand expected high flows. The activity

must not restrict or impede the passage of normal or high flows, unless the primary purpose of the

activity is to impound water or manage high flows. The activity may alter the pre-construction

course, condition, capacity, and location of open waters if it benefits the aquatic environment (e.g.,

stream restoration or relocation activities)."

        57.    A USACOE representative noted in a 2009 inspection that "It was noticeable during

the survey that the pipes were mostly closed and regular maintenance will be required to keep the

pipes open." A copy of a report from the USACOE is attached as Exhibit 13.

        58.     Lawrence County has failed to maintain the bridge or remove debris for years and

continues to do so to this day.

        59.     Lawrence County continues to violate the CWA on a daily basis by failing to adhere

to its permit requirements, including but not limited to the Management of Water Flows

requirement.

        60.     The pre-construction course, capacity, and location of waters within the Slough

have not been, and currently are not being, maintained by Lawrence County.



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          61.   Lawrence County's bridge is too tall to allow for water to top the bridge during

heavy flows. Instead of allowing flow to pass through unimpeded, debris regularly dams the bridge

culverts and pools the high water flows in the one mile channel between the Cache River and the

bridge.

          62.   There is no aquatic benefit of the bridge; the USACOE has not determined there to

be any aquatic benefit of the bridge.

          63.   The County has continuously failed to meet the requirements of its conditional

permit, is currently in violation of§ 404 of the CWA, has been in violation of the CWA for years

due to willful decision-making at the highest level of county governance, and has never attempted

to comply with its permit conditions or remediate the impact of this bridge.

          64.   In particular, the County has violated the terms of their permit numerous times since

2011.

          65.   For all intents and purposes, the bridge has effectively turned into a dam.

          66.   The frequency and intensity of flooding on the Cache River between US Highway

63 and Arkansas Highway 91 has increased within the past six years and continues to increase to

this day.

          67.   Plaintiffs provided notice to Lawrence County that they considered the County to

be in violation of the CWA on June 3, 2016. A true and complete copy of this letter is attached

hereto as Exhibit 14.

          68.   Plaintiffs are adversely impacted by Lawrence County's disregard of its CWA

permit obligations, regularly losing crops and having their property values diminished as a result

of Lawrence County's repeated failure to follow its permit conditions.




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          69.   Lawrence County has shown a conscious disregard to its permit violations and its

impact upon others, having flatly ignored its permit requirements for over a decade.

          70.   Lawrence County is willfully operating far outside of the CWA, having expended

no effort to allow for the flow of natural floodwaters to the "maximum extent practicable," and

Lawrence County effectively has no Section 404 CWA permit.

          71.   Plaintiffs bring suit under the CWA citizen suit provision at 33 U.S.C. § 1365,

seeking an order from the Court enjoining Lawrence County from operating the bridge unless and

until it operates in compliance with the terms of its Section 404 permit.

          72.   In the alternative, Plaintiffs seek an order from the Court enjoining Lawrence

County from operating the bridge until it reapplies for a Section 404 permit from the USACOE.

          73.   Plaintiffs request the Court award them fees and costs as provided by 33 U.S.C.

§1365(d).

                    COUNT 2-Public Nuisance (Ark. Code Ann.§ 14-268-105)

          74.   All paragraphs in this Complaint are incorporated here by reference as if fully set

forth in Count 2.

          75.   This cause of action is asserted alternatively to all other causes of action stated

herein.

          76.   Under Arkansas Code Annotated§ 14-268-105, any Arkansas citizen may bring a

suit against a county where a "structure, building, fill or development" is placed in a flood-prone

area in violation of its flood regulations.

          77.   The bridge constructed by the County lies within an area known to flood regularly.

          78.   Lawrence County has adopted county floodplain regulations, a true and complete

copy of which are hereto attached as Exhibit 15.



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       79.     The Lawrence County Floodplain Regulations apply to "Special Flood Hazard

Areas" in Lawrence County, which are defined as "geographical areas identified on FEMA flood

maps as being at-risk for flooding." See Exhibit 15.

       80.     Attached hereto is the official Federal Emergency Management Agency (FEMA)

flood map of the Cache River Slough as Exhibit 16, which identifies the area where "Lawrence

Rd. 717" crosses the Slough (labeled "West Cache River Ditch") as a "Special Flood Hazard Area

Subject to Inundation By the 1% Annual Chance Flood."

       81.     The official FEMA map labels the area where Lawrence County Road 717 crosses

the Slough as a "Zone A" area. See Ex. 16.

       82.     For Special Flood Hazard Areas in "A" Risk Zones, the Lawrence County

Floodplain Regulations imposed the following requirements on the County for new non-residential

constructions: (i) determine a base flood evaluation prior to construction, (ii) "a registered

professional engineer or architect shall develop and/or review structural design, specifications, and

plans for the constructions, and shall certify on a Floodproofing Certificate that the design and

methods or construction are in accordance with accepted standards of practice as outlined in this

subsection." See Ex. 15 at 25.

        83.    The Floodplain Regulations also require these measures be taken for each

modification of non-residential structures. Id.

        84.    The bridge is a non-residential construction. No licensed engineer or architect ever

analyzed the structural design or plans for the installation of the County Road 717 bridge or the

2003 modification.

        85.    No licensed engineer or architect ever certified a Floodproofing Certificate for the

installation of the County Road 7171 bridge or the 2003 modification.



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          86.   The design of the bridge is so obviously flawed under standard engineering

principles that no licensed engineer or architect would have approved the construction or

modification of the bridge.

          87.   On September 22, 2016, through counsel, Plaintiffs requested any and all

construction plans from Lawrence County for the bridge under the Freedom of Information Act,

including all engineering or architectural reports, invoices, receipts or expenditure authorizations.

A true and complete copy of this letter is attached hereto as Exhibit 17.

          88.   The Lawrence County FOIA response included a receipt for all services billed for

construction of the bridge, which confirmed that no engineer or architect was paid or retained by

Lawrence County for work on the bridge. A true and complete copy of the Lawrence County FOIA

response is attached hereto as Exhibit 18.

       89.      As no licensed engineer or architect ever reviewed the bridge plans or certified a

Floodproofing Certificate, the bridge's construction and modifications were in violation of the

County's own regulations.

       90.      The bridge as constructed and maintained by Lawrence County operates as a public

nuisance that predictably increases flooding on the Cache River proper, contributes to the flooding

of Craighead County roads and US Highway 230, floods Plaintiffs' properties, and eliminates the

Slough's entire purpose as flood relief.

       91.      The Lawrence County Floodplain Regulations were adopted by the very same

County Judge (Latham) that unlawfully constructed the County Road 717 bridge. See Ex. 15.

       92.      Former County Judge Latham currently serves on the Quorum Court of Lawrence

County.




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        93.    Plaintiffs have made their problems known to Lawrence County for over a decade

only to be repeatedly ignored.

       94.     Lawrence County has had ample notice of this public nuisance, having been

informed by Plaintiffs and other Craighead County residents of the bridge's problems ever since

it was originally constructed.

       95.     Plaintiffs have experienced the adverse impacts of flooding as a direct result of

Lawrence County's failure to adhere to its floodplain regulations from 2011 to the current date and

expect the adverse effects to worsen.

       96.     Arkansas Code Annotated §14-14-1102(b) provides that a county judge must

exercise his power over bridges "pursuant to law," which former Lawrence County Latham and

current Lawrence County Judge Thomison have failed to do.

       97.     Per Lawrence County's own regulations and Lawrence County's CWA Section 404

permit, the bridge has not been made or maintained according to law and as such is a per se public

nmsance.

       98.     Some Lawrence County residents have requested the County not maintain a proper

bridge because doing so might have allowed floodwaters to reach their lands on the lower portion

of the Slough, which is not subject to the extensive flooding on the Cache River's eastern bank

near Bono, Arkansas caused by the bridge.

       99.     Lawrence County has acquiesced to those constituents to avoid constructing a

properly-designed bridge across the Slough at County Road 717.

       100.    Lawrence County has willfully ignored Plaintiffs' flooding problems and has acted

with reckless disregard to the damage it continues to cause Plaintiffs and others.




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          101.    Plaintiffs are threatened with irreparable harm that far outweighs the cost of

constructing a proper bridge; Plaintiffs are likely to succeed on the merits; and it is in the public's

interest to both have a properly functioning Slough-since the federal government designed and

constructed the Slough-and to have a county fix a bridge that is knowingly causing flooding on

neighboring lands and roads.

          102.    Public resources have already been wasted by Lawrence County's refusal to fix its

bridge because the Slough cannot operate as designed and there is an on-going threat to public

safety from increased flooding on the Cache River proper.

          103.   Plaintiffs request that the Court enjoin Lawrence County to remove the bridge and,

and to allow the free flow of floodwaters and debris through the Slough unimpeded, pursuant to

Arkansas Code Annotated§ 14-268-105.

                 COUNT 3-Declaratory Judgment (Ark. Code Ann.§ 18-15-703)

          104.   All paragraphs in this Complaint are incorporated here by reference as if fully set

forth in Count 3.

          105.   This cause of action is asserted alternatively to all other causes of action stated

herein.

          106.   Arkansas Code Annotated § 18-15-703 provides that "All dams, stoppages, or

obstructions not made according to law shall be deemed to be public nuisances and shall be dealt

with accordingly."

          107.   The bridge has been, and currently is, operating as a dam, stoppage, and

obstruction.

          108.   As explained above, Lawrence County officials failed to construct and maintain the

bridge according to federal law, state law, and its own regulations.



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          109.   Plaintiffs request the Court declare the bridge a public nuisance under Arkansas

Code Annotated §18-15-7023, pursuant to the Arkansas Declaratory Judgment Act at Arkansas

Code Annotated § 16-111-101 et seq and the federal Declaratory Judgment Act at 28 U .S.C. § 2201

et seq.

          110.   Plaintiffs request that the Court enjoin Lawrence County to remove the bridge and,

and to allow the free flow of floodwaters and debris through the Slough unimpeded, pursuant to

Arkansas Code Annotated §18-15-703.

          111.   Plaintiffs request the Court award them their costs in pursuit of this declaratory

judgment and injunction, pursuant to Arkansas Code Annotated §16-111-110 and 28 U.S.C. §

2202, as well as any other relief to which they are entitled under 28 U.S.C. § 2202

                                COUNT 4 - Inverse Condemnation

          112.   All paragraphs in this Complaint are incorporated here by reference as if fully set

forth in Count 4.

          113.   This cause of action is asserted alternatively to all other causes of action stated

herein.

          114.   Article 2, § 22 of the Arkansas Constitution states that "private property shall not

be taken, appropriated, or damaged for public use, without just compensation therefore."

          115.   Likewise, the Fifth Amendment of the United States Constitution requires just

compensation for private property taken by the government for public use.

          116.   Lawrence County constructed, modified, and maintained its bridge on County Road

717 across the Slough with public funds for the benefit of the public within its jurisdiction.

          117.   Lawrence County's bridge and actions have caused extensive floodwaters to enter

upon the farm land of Plaintiffs and destroy crops annually for more than fifteen years.



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        118.    As Plaintiffs' land is normally suited to farming, Lawrence County's actions have

caused Plaintiffs' property values to diminish over the same period oftime because their properties

can no longer be reliably marketed for that purpose.

        119.    Plaintiffs informed Lawrence County in 2001, 2003, 2009, 2015, and 2016 of the

bridge's impact that has resulted, and continue to result, in nuisance floodwaters entering upon

their land.

        120.    By knowingly sending floodwaters onto another's property, Lawrence County has

committed a taking of Plaintiffs' properties.

        121.    Lawrence County has made no attempt to restore the Slough to the purpose for

which it was originally created or alleviate the problems caused by its bridge.

        122.    Lawrence County has refused to acknowledge it has caused the flooding and has

never offered to tender any compensation for Plaintiffs' property.

        123.    Lawrence County has never initiated a condemnation proceeding against Plaintiffs'

property.

        124.    As such, Plaintiffs have been deprived of their rights to just compensation under

the Arkansas and federal constitutions for property taken for public use.

         125.   Flooding upon Plaintiffs' property caused by Lawrence County's actions constitute

takings for which just compensation must be paid by Lawrence County.

         126.   Plaintiffs seek just compensation in damages for the property taken from them by

Lawrence County from 2011 until the current day under Arkansas Code Annotated§ 18-15-410,

the Arkansas Constitution, and the United States Constitution, including but not limited to all (i)

temporary but regularly occurring physical invasions caused by Lawrence County action or

authority, (ii) lost or destroyed crops resulting from physical invasions caused by Lawrence



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County action or authority, and (iii) the diminution of value of the Plaintiffs' properties caused by

Lawrence County action or authority.

                             COUNT 5-Violation of 42 U.S.C. § 1983

          127.   All paragraphs in this Complaint are incorporated here by reference as if fully set

forth in Count 5.

          128.   This cause of action is asserted alternatively to all other causes of action stated

herein.

          129.   A government actor stands in violation of 42 U.S.C. § 1983 if, under color of

federal, state, or local law he or she deprives a citizen of a privilege, right, or immunity enjoyed

under the United States Constitution.

          130.   Under Arkansas Code Annotated§ 14-14-1101 and-1102, Arkansas county judges

are charged to maintain and construct county roads and bridges according to law.

          131.   Defendant Thomison, the current County Judge for Lawrence County, has acted

under color of local law by refusing to maintain the current bridge's culverts or allow the natural

flow of waters and debris to continue along the Slough unimpeded.

          132.   Previous County Judge Latham likewise acted under color of state law by refusing

to lawfully construct a proper bridge, maintain the current bridge's culverts, or allow the natural

flow of waters and debris to continue along the Slough unimpeded.

          133.   Because of the County's failure to properly construct or maintain its bridge,

Plaintiffs' lands flood on a regular basis, causing Plaintiffs injuries in crop damage and a decrease

in property values.

          134.   As such, Plaintiffs have been deprived of their private property and due process

rights guaranteed by the Fifth and Fourteenth Amendments of the United States Constitution.



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       135.    Moreover, Lawrence County has preferred its own citizens over Plaintiffs, who

reside in Craighead County, by pushing off floodwaters back into the Cache River proper through

the unlawful construction of an improperly-designed bridge and refusing to modify or maintain

the bridge.

        136.    Lawrence County's outright refusal to address the problems caused by the bridge

has been motivated by a desire to prefer its taxpayers over the citizens of neighboring counties.

        137.    Lawrence County's actions to further the interest of their own citizens have come

at the direct expense of Plaintiffs.

        138.    Because Plaintiffs are not residents of Lawrence County, they cannot vote in

Lawrence County elections or otherwise influence decision-making at the county level.

        139.    Lawrence County has deprived Plaintiffs of the equal protection of the law, as

guaranteed by the Fourteenth Amendment of the United States Constitution.

        140.    Plaintiffs request damages for Plaintiffs' lost crops and property values that have

been destroyed by the actions of Lawrence County; however, damages for previous violations of

their federal rights will not fully redress the injuries that continue to occur to Plaintiffs.

        141.    As such, Plaintiffs request that the Court enjoin Lawrence County to remove the

bridge and to allow the free flow of floodwaters and debris through the Slough unimpeded.

        142.    Plaintiffs seek their attorney fees, costs, and any necessary expert fees pursuant to

42 U.SC. § 1988.

        143.    Plaintiffs demand a jury trial.




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       Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 20 of 174



       THEREFORE, Plaintiffs request that this Court award them judgment against Defendant

in the form of injunctive relief, actual damages, and consequential damages, together with all other

fees, costs, and expenses to which they may be lawfully entitled, including pre- and post-judgment

interest, and other just and proper relief to which they may be entitled.



                                                      Respectfully submitted,


                                                             /!L~
                                                      Micah L. Goodwin, Ark. Bar. No. 2015213
                                                      micah@ppgmrlaw.com
                                                      Julie D. Greathouse, Ark. Bar No. 99159
                                                      julie@ppgmrlaw.com
                                                      PPGMR Law, PLLC
                                                      P.O. Box. 251618
                                                      Little Rock, AR 72225
                                                      501-903-6000
                                                      501-603-0556 (fax)

                                                      Attorneys for Plaintiffs




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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 21 of 174




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               Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 24 of 174




File 200109011/latham/replacement of bridge with culverts across Cache River Ditch/east side      3/20/2001




                                                                                          Exhibit 2
               Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 25 of 174




File 200109011/Latham/replacement of bridge with culverts across Cache River Ditch/west side   3/20/2001
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File 200109011/Latham/replacement of bridge with culverts across Cache River Ditchfeast side               3/20/2001
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 File 200109011/Latham/replacement of bridge with culverts across Cache River Ditch/west side   3/20/2001
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2. Show total (regular plus overtime) in "HRS. EACH DAY" column.                       . PAGE    2    OF               4     PAGE(S)
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1. Under "Rate" column, show hourly rate for regular time.
2. Show total (regular plus overtime) in 11
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l. Under 11 Rate 11 column, show hourly rate for regular time.
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    Example: Joe Handy worked 12 hours on Monday, 4 of which were
   ·overtime at time and one-half, the total hours shown under Monday
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    (M) would be 14 hours.                                                                                                                      --
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2 . . show
         total (regular plus overtime) in "HRS. EACH DAY" column.                                                                                       PAGE    3    OF   3                      PAGE(S)
   Example: Joe Handy worked 12 hours on Monday, 4 of which were                                                                                        TIME PERIOD: 8-19                      TO
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   (M) would be 14 hours.
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L         Information under "For Rented Equipment" to be filled out only when                                           PAGE 1       OF      1                    ?AGE(S)
          rented equipment is used.                                                                                     TIME PERIOD:         ~~~-
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                                                                                                                                              R-:I:J
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      I CERTIFY THAT THE ABOVE INFORMATION PERTAINING TO RENTAL EQUIPMENT WAS TRANSCRIBED FROM VENOCR
      INVOICES AND THAT THE INFORMATION PERTAINING TO OWNED EQUIPMENT IS TRUE AND CORRECT.     THE RATES USED
      FOR OWNED EQUIPMENT ARE NO GREATER THAT THE ALLOWED· RATES SHOWN ON FEMA 1 S "SCHEDULE OF EQUIPMENT RATES"
      UNDER PUBLIC LAW 93-288.
                                                                                  TOTAL CLAIMED: 4$73~~-CXl~---:::---~~~
                                                                                                    ( 'fh i s Pa g e )
      CERTIFIED BY:                                     TITLE:                            ~~~~~~~~~~~~~~~~~~~
                                 Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 38 of 174
                                                FORCE ACCOUNT r ...,ERIALS RECORD    GOV'S EP #
1.      Plact   1
                  11
                     x 11 in the proper "info from" column t. .how you took the
        precea1ng information (except warrant number) from either vendor             PAGE 1                                                           OF         1          PAGE(S)
        invoices or stock cards.                                                                                                                           -
                                                                                                                                       TIME PERIOD:     7-24
       I.cw:ax:e Ctunty                                                                                                                               -8-Z'l-:
~PPLICANT:~~~~~~~~~~~~~~~~~~~~~~~~~-                                                                                                                                     1997
                                                                                                                                                                           "----


                                                                                                                                       JOB SITE NUMBER:              2

                                                                                                                                                                 C-HECK ONE
                    VENDOR                       DESCRIPTION                              UNIT               TOTAL DATE                 CHECK   DATE             INFO FROM
                                        MfilRIAIS                                         P'RICE             PRICE BOUGHT               NO.     USED           INVOICE    STOCK

                                                                                        $5400.00 $11,399.50
 N:::rthsid9 steel             IC2) tank cars 8 1 6' 1 x 60 1                           <l;?QC}.7r;, h                      8-6
                                                                                        $5400.00
 N:n:ths:id: steel             C2) tank cars 8 1 611 x 60'                              c;:?qq .75 h $11.399.50             8-8
                                                                                        $297.80
 '"'-rtified steel             FJat steel                                               $21.21 tv      $319.01              7-24

 cect:ifia:1 steel             Flat stre.l                                              $279~~5
                                                                                        !1;19  tv             !l;'.2qq.88   P.-7
                                                                                        $25.00
 (l::sri-i_fie::l   steel      F'lat steel                                              $1.78 tx               $26.78       8-11

Vulcan M:iterials              15 larls rip:ap  = '2tJ7 57' tcrs              .         ~~!£1Fx     $937.27                 8-18
                                                                                        $4.32 t.cn
 Mean M:iterials               26 larls ripr:ap = 338.67 tcrs                           $75.22tx $1538.26                   18+19
                                                                                         $4.32 t.cn
 Vulcan M3.terials             31 J.arl; riprap = 397 .31 taB                           $90.62tx $1807.01                   8-20
                                                                                         $4.32 tm
 Vulcan M3.terials             29 J.arl; riprap= 395.47 taB'                            $90.24tx $1798.66                   8-21
                                                                                         $4.32 tm
 \Ula3n M:lterials             26 lads ripr:ap = 329. 00 taB                            $72.66tx $1493.94                   8-22
                                                                                        $3159.00
 ~ Brot:h:!rs                  54      SJ.    vds. o::n::rete @ 58.50                    ct'J?~ 1?  $3384.12                R-?f\


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     CERTIFIED BY:                                                                       TITLE:~~~~~~~~~~~~~~~~~~~
Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17    Page 39 of 174
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                                             Address
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                                             School Dis!.        {VL           S \..'-)       L( L{ (;.

                                                                                       Vs.

                                                                LAWRENCE COUNTY

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                                           Less Fed. Withholding Tax. . . . . . . . $                                 "•


                                           Less Social Security . . . . . . . . . . . . . _$_ _ _ _ _ __


                                           Less State Tax . . . . . . . . . . . . . . . . . . _$_ _ _ _ _ __


                                           Less Retirement . . . . . . . . . . . . . . . .. . _$_ _ _ _ _ _ __



         -:Scl:,   s ~ +. ._t\· ~          Less Insurance .................. _$_ _ _ _ _ __


                                           Less Garnishment . . . . . . . . . . . . . . .         -'-$_ _ _ _ _ __



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                                                                                                            Councy Judge



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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 40 of 174                                                                                                                          .. ,




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      COUNTY OF LAWRENCE                       WALNUT RIDGE, ARKANSAS                                                                                   I
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      THE STATE OF ARKANSAS
      COUNTY OF LAWRENCE
                                      I  SS.

          I,                                                                               , do solemnly swear that the foregoing
      claim Is Just and correct, and that no part thereof has been paid prevl-ously; that the services charged for, or materials
      furnished, as the case may be, were actually rendered or furnls.hed; and that the charges made therefor do not exceed the
      amount allowed by law, or customary charges, for similar services or materlals~.r:nlsh~ ¥Ltten estimated and paid In
      lawful money of the United States; and that said accounts, clalms, demands or }fflbh~bt enlarged, enhanced or
      otherwise made greater In consequence of, or by reason of any estlmate%1L1.~~~~~i%nfG6'~r,tJ~Hon In the value of
      county warrants.                                                           '                 ·

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     Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 41 .•of
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                      Mai:t? s W~dmg
                     2688HighwayI17                                                                            471537
                     Black Rock, AR 72415
                     (870) 528-3558                                                             ~,..                .··          •. ·.:, .
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                     FM 2-4705 REV




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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 42 of 174
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                                             Address

                                             School Dist.     {l <\t. / Do
                                                                                          Vs.


                                                                 LAWRENCE COUNTY

                                                   CLAIMJ!i~kQ~ANC.E
                                                        BILLIE        · -•
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                                                            Examined and allowed the sum of

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                                            Less Fed. Withholding Tax . . . . . . . . . .::$-----~...-
                                                                                                    ...                   ,
                                            Less Social Security . . . . . . . . . . . . . . .        ..:.$_ _ _ _ _ __



                                            Less State Tax ...................                        ..:.$_ _ _ _ _ __



                                            Less Retirement . . . . . . . . . . . . . . . . . .       .::$:..__ _ _ _ _ __


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                                            Less Garnishment . . . . . . . . . . . . . . . . _$_ _ _ _ _ __

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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 43 of 174




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       THE STATE OF ARKANSAS~
                                       SS.
       COUNTY OF LAWRENCE

            I,                                                                              , do solemnly swear that the foregoing
       claim is just and correct, and that no port thereof has been paid' previously; that the services charged for, or materials
       furnished, as the case may be, were actually rendered or furnished, and that the charges mode therefor do not exceed the
       amount allowed by low, or customary charges, for similar services or materials furnished, when estimated and paid in
       lawful money of the United States; and that said accounts, claims, demands or fee bills ore ~;ri~~rged, enhanced or
       otherwise mode greater In consequence of, or by reason of any estimated, supposed fV!oTu~tion in the value of
       county warrants.                                                                  BILLIE GAIL, ounla~ounty Cler~
                                                                                Signed
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       Sworn to and subscribed before me this



       By   - - - - - - - - - - - - - - - - - - - o.c.
           Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 44 of 174



                                       STATEMENT
NORTHSIDE STEEL                            I            81311911
P 0 BOX 806
JONESBORO, AR. 72403
1-800-553-1373
(501) 932-0121
(501) 972-1521



                                            Lawrence County Road Department
                                            County Court House
                                            Walnut Ridge, Ar. 72476



PURCHASES
  DATE         INVOICE NO   CHARGES               CREDITS          BALANCE
 4/14/97 Inv. 51000              $340.80                                $340.80
 4/15/97 Inv. 51345            $5,693.00                              $6,033.80
 4/15/97 Inv. 51347            $5,693.00                             $11,726.80
 5120197 ck 19122                                      $340.80       $11,386.00
 5/21/97 Inv. 51404            $5,693.00                             $17,079.00
   6/5/97 Inv. 51564           $5,693.00                             $22,772.00   .,
 6/11/97 Inv. 51626            $5,693.00                             $28,465.00
 6/18/97 ck 19227                                   $17,079.00       $11,386.00
 6/24/97 ln\7. 51739           $4,334.50                             $15,720.50
 6125197 Inv. 51753            $4,752.50                             $20,473.00
 6126197 Inv. 51770            $1,384.50                             $21,85J.50
 6/27/97 Inv. 51783            $5,693.00                             $27,550.50
   712197 Inv. 51829           $5,699.75                             $33,250.25
 7/15/97 Inv. 51926            $1,372.26                             $34,622.51
 7/16/97 Inv. 51929            $4,444.25                             $39,066.76
 7123197 ck 19345                                   $27,550.50       $11,516.26
   8/6/97 Inv. 52135           $5,699.7~                             $17,216.01
   8/6/97 Inv. 52136           $5,699.75 l\..:S ob a_                $22,915.76
   8/8/97 Inv. 52169           $5,699.75 )~~1'1'\G ,()t)             $28,615.51
   8/8/97 Inv. 52170           $5,699.75. I/                         $34,315.26
                                       ,
 8/19/97 !Ck 19465                                $11,516.26         $22,799.00
 8/25/97 Inv. 52308            $4,444.25 [)~ob \ tl                  $27,243.25
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                                 PLEASE PAY THIS AMOUNT              $27,243.25
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                                Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17         Page 45
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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 46 of 174




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                                                  NORTHSIDE ST.                                      _                                           n N '\y/ CY LI rq        ~'·
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                                P.O. Box 806
                    ·. JONESBORO, ARKANSAS 72403-0806
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                                       P.O. Box 806
                                                            Case 3:17-cv-00272-DPM
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                                                                                   Document 1 Filed 10/10/17
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                                                     Address

                                                     School Dist.        c-'t=J< dca
                                                                                                  Vs.

                                                                        LAWRENCE COUNTY


                                                           CLAIM                 F<}~J]~~-mt9~ANCE
                                                       .               Bil   L.\ [   o lllly opnlap Comity t,\er~
                                                     Filed on the            -       Utt:i        o                           • 19
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                                                                                      :·(,                                       Clerk




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                                                      Less Fed. Withholding Tax. . . . . . . . $~----..:....,-
                                                                                                            ... ........_
                                                      Les~ Social Security . . . . . . . . . . . . . '-$_ _ _ _ __

                                                      Les~ State Tax . . . . . . . . . . . . . . . . . .            _$_ _ _ _ _ __


                                                      Less Retirement .................. _$_ _ _ _ _ __

                                                      Less Insurance .................. _$_ _ _ _ _ _ __


                                                      Less Garnishment ............... $- - - -

                                                       Net ............ _...... .
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                                                                                                                              County Judge


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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 50 of 174



                                              AFFIDAVIT TO COUNTY                          ACCOU~
        COUNTY OF LAWRryNCE                    WALNUT RIDGE, ARKANSAS                                  . (     .l/U Clj ...-- /\J    .l              ,,9q'T
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        THESTATEOFARKANSASI
                                         SS.
        COUNTY OF LAWRENCE
            I,                                                                                   , do solemnly swear that the foregoing
        claim Is lust and correct, and that no part thereof has been paid prevfously; that the services charged for, or materials
        furnished, as the ca~ may~, were actually rendered or furnished, and that the charges made therefor do not exc~ the
        amount allowed by law, or customary charges, for similar services or materials furnished, when estimated and paid In
        lawful money of the United States; and that said accounts, claims, demands or f~~r-a~~nlarged, enhanced or
        otherwise made greater In consequence of, or by reason of any estimated, supposej!_\o.i!.~a ~gT."~1inr~ftfR~'~ln the value of
        counfy w11rrants.                                                  I
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        Sworn to and subscribed before me this _ _ _ _ _ _ day of
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                                                                                                      •,_\\ 9 \l.·le,-1,,·1,1'2.\ . .'\li.i:
                                                                                                                     'LI\. . :;; 'I 0                       Clerk

        By                                                                 D.C.
                                  Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 51 of 174

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                                                                                   STATEMENT                                                                         IDate        /             ...... /         -          ./



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                       CERTIFIED WELDING & STEEL                                         To                                         ·~-        ;:                                     :



                                            P.O. BOX 861
                                                                                                                                   ·"               l •
                              WALNUT RIDGE, ARKANSAS 72476-0861
                          Phone: Shop: (501) 886-5401 •Res.: {501) 886-7677



Materials:                                                                         Job Description
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                                             Total Materials      $                                                                                                                   Material
                                                                                   Date Paid -                                                                                        Labor
Not responsible for defective materials or welding. This is a liability release.
                                                                                   Check#                                                                                             Subtotal

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Customer Signature - - - - - - - - - - - - - - - - - -
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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 52 of 174                                            l./ .   --    I



                                                                                            No.    I °157 a


                               .-                                       Address


                                                                        School Dist.      Ce_ R 2co
                                                                                                       Vs.


                                                                                         LAWRENCE COUNTY

                                                                            CLAIM F9,!JAEJDW~NCE
                                                                                        8\Ll\E GAIL, Dunlap Cou11ty C.
                                                                       Filed on the               day of                           . 19
                                                                                                  '3EP 1 b '\997
                                                                                                                                       Clerk

                                                                       By               AM       ooCUM~NT FIL@        PM
                                                                                          8\ 9 ll8\ll \ J.2\ £\ 3J 4l_5                  D.C.
                                                                                      Examined and allowed the sum of




                                                                       Less Fed. Withholding Tax .. , ......            .;::..$- - - - -




                                                                      Less Social Security ....... _.. _.... _$- - - - -

                                                                      Less State Tax ................... _s_ _ _ __

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                                                                      Less Retirement . . . . . . . . . . . . . . . . . . __

                                                                      Less Insurance . . . . . . . . . . . . . . . . . . . _s_ _ _ __

                             tJ. '?):~L1 .J-i' l;;o.p -1-h t'$ i S>   Less Garnishment . . . . . . . . . . . . . . . . ~S_ _ __
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                                                                                                                               County 1111.lgc
Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 53 of 174



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                                             AFFlDAVIT TO COUNTY ACCOUN't/                                          f,
     COUNTY OF LAAnENCE                        WALNUT RIDG. E, ARKANSAS                            ,~xJ c;_/J.t.Qrmi:Jh'L.,, 199'7
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                                                                                             \'                      DR. _ __




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     THE STATE OF ARKANSAS~
                                         SS.
     COUNTY OF LAWRENCE

          I,                                                                                , do solemnly swear that the foregoing
     claim is just and correct, and that no part thereof has been paid previously; that the services charged for, or materials
     furnished, as the case may be, were actually rendered or furnished, and that the charges made therefor do not exceed the
     amount allowed by law, or customary charges, ~~:· ::::1:?c.;· ~ervi~es or materials furnished, when estimated and paid in
     lawful money of the United States; and that said accounts, claims, demands or fee bills are not enlarged, enhanced or
     otherwise made gr,.~:.:,, ;., '""M".;iuence of, or by reason of any estimated, supposed o         ~ion in the value of
     county warrants.                                                                                  i~L!I
                                                                                                          I~   D nlap County Clerk

     Sworn to and subscribed before me this

                                                                                            AM            ;:iiJUUMcrff FILEO .   PM-   Clerk
     By      · - - - - - - - - - - - - - - - - - - D.C.
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                                                                                                             Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 54 of 174
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                                                                                              CERTIFIED WELDING & STEEL                                                                                                                                                              To                                                                  ..                                                            . .:           )···   .:·        _:




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                                                                                                                                                        P.O. BOX 861
                                  ,yr v                                                                           WALNUT RIDGE, ARKANSAS 72476-0861
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                                                                                                     Phone: Shop: (501) 886-5401 •Res.: (501) 886-7677



t                                Materials:                                                                                                                                                                                                                                Job Description



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                                 Not responsible for defective materials or welding. This is a liability release.
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                             Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 55 of 174


                                                                          STATEMENT         j Date.·:·

                                                                                                             ..
                     CERTIFIED WELDING & STEEL.                              To                     ,.


                                        P.O. BOX 861
                          WALNUT RIDGE, ARKANSAS 72476-0861
                      Phone: Shop: (501) 886-5401 •Res.: (501) 886-7677



Materials:                                                                Job Description
                                                                $                            . _,..,.... -
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                                         Total Materials        $                                                 Material
                                                          Date Paid -                     Labor
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Customer Signature
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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 56 of 174

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                                                  Llll ijco CQ i'I10~ nu·(\~"\>      b
                                           Address

                                           School Dist
                                                                Con~'ili
                                                                  \;j    ~                  =
                                                                               Vs.

                                                              LAWRENCE COUNTY

                                                  CLAIM FOJFfillt{J'ANCE
                                              .               OILLIE GAIL, Qunfap Couniy Cfen-
                                          F1led on the                  d:1y of                      • . 19

                                                                       31:Y 1 b '/997                       Clerk

                                          B                                                                 D.C.

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                                         Less Fed. Withholcling Tax .........               ..;.$_ _ _ _ __



                                         Less Social Security ...............               ..:$_ _ _ _ _ __


                                         Less Stale Tax ...................                 .;:.$_ _ _ _ _ __



                                         Less Retirement. . . . . . . . . . . . . . . . . . ..:$_ _ _ _ _ __

                                         Less Insurance . . . . . . . . . . . . . . . . . . . _$_ _ _ _ _ __

                                         Less Garnishment . . . . . . . . . . . . . . . .   .;:.$_ _ _ _ _ __



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             ·,s h>Y :Job s:+.Q._ il;q

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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 57 of 174




                                      AFFIDAVliT TO COUNTY ACCOU~                                                                             t
   COUNTY OF LAWRENCE                     WALNUT Rl!D;E, ARKANSAS                                       1.,..._(tfJ fc.t(f/~{ \_, , 199.!l
             TO    ! ~111   \·, ("(\ r.t"\   lm r·         '~ ':--. \• n   c ·0         r    0.Al'V\    ('y:, ""    I   I
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  ·
   THE STATE OF ARKANSAS           fSS.
   COUNTY OF LAWRENCE

        I,                                        ·                                      , do solem,QJy~~hat the foregoing
   claim is just and correct, and that no part therre:rl has been paid previously; that the sP,~~~ for, or materials
                                                                                                f tAfiS~fffJ tl~.r\lxceed the
                                               charges~.                                materials~~'
   furnished, as the case may be, were actually rer.nt2red or furnished, onp that the c
   amount allowed by law, or customary               -er similar services or                     'w en estimated and paid in
   lawful money of the United States; and that ssc:i accounts, claims, demands or fee bills are not enla%i;d, enhanced or
   otherwise made greater in consequence of, or b· reason of any estimated, supposed or '.?;@td~1r~rl@·gij in the value of
   county warrants.

                                                                           Signed ----'-A...,.,Mw.-,.,..,....4/QO.,...,.,..·c. . ,1/~j.1~ 4Tf.,. .,l .~ l;~·l-+-A.µ;;,..P_M_.- -
                                                                                                          B! 91toT11Ti212131415
  Sworn to and subscribed before me this

                                                                           - - - - - - - - - - - - - - - - - - Clerk
   By   ___________________ o.c.
                                     Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 58 of 174

llulmn
 /laterials Company
           ·/                                                                                                                             PAYMENT DUE               0 9115197
OLD TO>.                 L AW R EN CE              C 0 UH T Y
                         COUNTY COURTHOUSE                                                                                                PLEASE RETURN ONE COPY OF
                         WALNUT RIDGE AR 72476                                                                                           .INVOICE WITH PAYMENT TO:
                                                                                                                                                         VULCAN          ~ATERIALS                 CO
                                                                                                                                                         SOUTH ER H DIV
                                                                                                                                                         P 0 BOX 1000
                                                                                                                                                         DEPT 374
ilPPEDTO:               COUNTY ROADS                                                                                                                     ME~PHIS,              TN 381~8-0374

                        MISC.TAX- LIST PRICE (3)                                                                                         TAX EXEMPT l.D.:
 INVOICE NO                INVOICE DATE             DEPT. I       CUSTOMER NO.
                                                                                                                                               CUSTOMER ORDER NO:                         LADING          FREIGHT
i 5111 0              I Ofj/30197 1701 10730500 1180154 I028
)ATE SHIPPED                   CAR I TICKET NO.                    PROO.CODE
                                                                                                                                                                                                    COLLECT
                                                                                                                                       UNIT              OUANHTY
 08/04• / 392638 v . / .                                                                                                                                                          PRICE                 AMOUNT
          392639V/                                                   240            18-STONE                                    ITONS                   16 .. 23               04 .. 230                68. 65
          392655../                                                                                                                                     14.55                  04 .. 230                61.55
                       392658~                                                                                                                          14.35                  04 .. 230             60.70
                       392667V--                                                                                                                        14 .. 83               04 .. 230             62. 73
                       3 92 6 7?._;,;,                                                                                                                  16.17                  04. 230               68.40
                       39269£1-'                                                                                                                       16 .. 39                04 .. 230             69.33
                                                                                                                                                       15. 69                  04. 230               66.37
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 08/08~393110V:
                                                                                                                                                                                                    457.73•
                  . 393172v'/                                        025           IQRY   RUN   RR                             ITCNS                    16.10                  04 .. 320                69.55
                ·':-393175./ /                                                                                                                          15. 62                 04.320                   67.48
                    3931 Bov>
              1     393182 L'i
                    393227V./
                 'i.393228V" /
                 X, 393229
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                 .r 393231'                                                                                                                             13. 23                 04 - 3 20                57.15
                 t393233                                                                                                                                13. 35                 04. 320                  57.61
                .·'t"393243v /                                                                                                                          15.45                  04.320                   66 .. 14
                    3932S1V"'/                                                                                                                          14. 68                 04. 320                  63.42
                      393252~                                                                                                                           1a.;01             04.320                       77.;;:80
              . , 3 93253 ........./                                                                                                                   14.04               04.320                       60~65
                      393254\./"                                                                                                                        16.45              04.320                       71.06
                  I                                                                                                                                     16. 57             04.320                       71.58·
                  I                                                                                                                                   225.17-tt                                     972.70•
)8/11          t393307~                                            025            IQRY RUN RR                                 ITONS                     13- 52             04. 320
                      393 308.......                                                                                                                                                                    58.41
                      393309.........---                                                                                                                15. 01             04. 320                      64. 84
                      393311~                                                                                                                           13.34              04.320                       51.63
                ~39332~~                                                                                                                               14.89               04.320                       64.32
                }3 93 3 23:;:::;                                                                                                                       16.06               04.320                       69.38
                ~393324~                                                                                                                               13.35               04.320                       57.67
               {393326~                                                                                                                                14. 31             04.320                        61.82
               'i.,,393328~                                                                                                                            14. 80             04.320                        63.94
               '1.393331-./                                                                                                                            16. 70             04.320                        72.14
               _r393332V. /                                                                                                                            15 .15             04.320                        65.45
               ' 393334v-./                                                                                                                            13.62              04.320                        58. 84
                 393335v_,.......                                                                                                                      13.08              04.320                        56.51
                      393341~                                                                                                                          12.96              04.320                        55.99
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                                                                025            IQRY RUN RR                                 ITONS                                                               1504.82•
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                                                                                                                                                      13.87              04.320
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Payable in lull by !he 15rh of                                                                                                                        11.97              04.3 20                    59.92
nth ronowmo rnonui of shipment                                                                                                                                                                      51. 71
rnen1 aue dare above.


"eiQ/l1s are lurnosfled by sworn agents of the Southern/Western Weighting and Inspection Bureau. These weights are lo govern selllemenrs.
nlOOfh Ol part fhereof lha1 amounts duP h&irarnvl'.....
                                           _
                                                          ""~- -~• --:..., ·u~n due. IL
                                             -; - -• ...,-.,., un:;; I "-'t ..,..,.._. •• ..• - - ~-u IU ~ amount a late Charge Computed at the
                                                                                                                                                                    TOTAL
                                                                                                                                                                                  I   CONTIHUED-01
                                                                                                                          ~n11c.r.;~    ~---
·:-.Per rnonrn or at the maximum tare permiUed uMer applicable law or ar such lesser rate as may be established by 'Aik::an from lime to lime.
 shall Pay all cosrs of collection including a reasonable allorncy"s fee for services rendered by suit or olherwi<o. in         ··-•    '- ·             Discount Allowable:
~Y.1IJ9~
                                       Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 59 of 174

                                                                                                                                        PAYMENT DUE                  09/ 15/97
)OLD""·                  LAWRENCE COUNTY                                                                                                PLEASE RETURN ONE COPY OF
                         COUNTY COURTHOUSE                                                                                              INVOICE WITH PAYMENT TO:
                         WALNUT RIDGE AR 72476                                                                                                            VU L CA N f'I ATE RIAL S                    C0
                                                                                                                                                          SOUTHERN DIV
                                                                                                                                                          P 0 BOX 1000
                                                                                                                                                          DEPT 374
                                                                                                                                                          KE~PHIS1               TN 38148-0374
r-llPPED TO:             COUNTY               ROADS
                                                                                                                                        TAX EXEMPT l.D.:
                         MISC.TAX. LIST PRICE (3)
                                                              I                      I OUR ORDER NO.                                                                                                         FREIGHT
  INVOICE NO                 INVOICE DATE             DEPT.       CUSlOMERNO.                                                                 CUSTOMER ORDER NO.                             LADING
                                                                                                                                                                                                       I
1 51 11 O I 0 8/ 3 oI 9 7 17 01 I0 7 3 0 5 OO I 1 8O1 5 4 0 2 B                                                                                                                                            COLLECT
 DATE SHIPPED.                     CAR I TICKET NO.               PROD.CODE                      DESCRIPTION                           UNIT               OUANTTTY                   PRICE                 AMOUNT


   08/1 8<J:394050~                                                 025           QRY RUN RR                                     TONS                    13.07                   04. 3 20                   56. 46
                                                                                                                                                                                                            5 5. 56
         ., 394Q65V /                                                                                                                                    12. 86                  04 .3 20
             394089'"1"'                                                                                                                                 14. 30                  04. 3 20                   61- 78
             3 94090;?'"                                                                                                                                 16.10                   04. 320                    69.55
             394091                                                                                                                                      15.• 35                 04 .. 320                  66. 31
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                 ' 1'394109 ./                                                                                                                                                                              61.43
                  ~ 394111~                                                                                                                              14. 22                  04.320
                  \ : 3 94 11 2 v . /                                                                                                                    14. 61                  04 .. 320                  63.12
                  ,'• 39411 SV°                                                                                                                          14. 53                  04 .. 320                  62. 77
                   "394119/                                                                                                                              13. 66                  04.320                     5 9. 01
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   08/19·1394168/,:
           394169 .v
         ~394170.//
                                                                    025           QRY        RUN RR                               TONS
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                    ~  394.1 71 v                                                                                                                         11. 67                 04 ... 320                 so. 41
                  .\~ 3  94 1 7 2           v/                                                                                                            11 - 70                04 ... 320                 50. 54
                  :'\' 3 94 21 2 V". /                                                                                                                    13. 27                 04.320                     57.33
                                                                                                                                                          13. 79                  04 ... 320                59.51
                  'j 394215~
                  -.'\-i394214V /                                                                                                                                                                           56.;.,76
                                                                                                                                                          13.14                  04.3.20
                    ' 394216v ~                                                                                                                           15~07                  04.320                     65 .. 10
                  ,'i3942390                                                                                                                             14.68                   04 .. 320                  63 .. 42
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                  ->   3 94 2 4 0 ::::/:
                  ·. ; 394241 ,/ ../
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                  <·,394248~                                                                                                                             15. 87                  04·. 3 20                  68.56
                  . ~394267- /                                                                                                                           12 .01                  04. 320                    51.88
                   \,394269V../                                                                                                                          11.50                   04.320                     49.68
                     ·,39421ov -                                                                                                                         12. 51                  04.320                     54.04
                      _.394271V/                                                                                                                         11.45                   04.320                     49.46
                    . ,3942ssv../                                                                                                                        15 .24                  04. 320                    65.84
                  ·>39428~~                                                                                                                              14.42                   04.320                     62. 29
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                     "3 94 2 8 2:JV-- ------                                                                                                             14. 91                  04.320                     64.41
                   '~ 3942   89v-....---
                  >r·,394300V
                      394291v"/                                                                                                                          12. 04                  04.320                      52.01
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                      394301 v /                                                                                                                         09.51                   04.320
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                         394302~                                                                                                                         09 ... 26
                         394303 v                                                                                                                        10.21                   04.320                     44.11
                                                                                                                                                        338.67*                                        1463. 04-.
    OS/20-~:.39431·~~,i.;,:~~·,;                                  >.025~.          QRX;:        ~,.,;;~ JOl!IS··~··'-·' .,,_.,.14.n                                               04.320                    63.81
·.·'·:'"···:·1~61~~, ..;.;-·'•:..                                           '>        ........                     '"            ;•                       13.17                  04.320                     56.89
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                                                                                                                                                             10.34                04.320                    44.67
rERMS: Payable In lull by the 1S!h ol
>ach month !allowing month o! shipmen!.
>ee payment due dale above.

'roduct weights are furnished by sworn agents ol !he Southern/Western Weighting and Inspection Bur.eau. These weights are lo govern selllemenls.
                                                                                                                                                                            TOTAL            I c ONTINUED-0 2
·01 each monlh OI part thereof that a1110<Jnts due hereunder are rot paid when   rtu«. lhere will be added lo soch omounl a hie ch>rll" computed al the        I   Discount Allowobfe:
•le of 1~'I. per monlh   or at   the maximum rale permilled under applicable law 01 al such lesser rale as may be eslabhshed by 'v\Jlcan lrom lime lo lime .
.uslomer shall pay alf costs of coUecUon inckJding a reasonabk! attorney's lee tor services rendered by suit or olherwise in collecting past due invoices.                                    Page            of
  !!!,!-l!!a~
                                          Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 60 of 174

                                                                                                                                                                         PAYMENT DUE                0 9/   1   5/   9   7
   SOLD TO
                                    LAWRENCE COUNTY                                                                                                                      PLEASE RETURN ONE COPY OF
                                    COUNTY COURTHOUSE                                                                                                                    INVOICE WITH PAYMENT TO:
                                    WALNUT RIDGE AR 72476                                                                                                                                VULCAN MATERIALS CO
                                                                                                                                                                                         SOUTHERN DIV
                                                                                                                                                                                         P 0 BOX 1000
                                                                                                                                                                                         DEPT 374
 SHIPPED TO:                        COUNTY ROADS                                                                                                                                         HEHPHIS, TN 38148-0374

                                    MISC.TAX. LIST                                      PRICE                            (3)                                             TAX EXEMPT l.D.:

     11 ;'10r;,.·.E   ' °0           INVOICE OArE                    DEPT   I    CUSTOMER NO.                            I   OUR OROER NO I SALESMAN
                                                                                                                                                                              <:USTOMER ORDER NO.

   151110                           08/30/971701 !0730500 !1801541028
                                                                                                                                                                                                                            LADING
                                                                                                                                                                                                                                        I     FREIGHT


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    >'E.~                               CAR
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                              -~394379~
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      08120                                                                            025                              QRY      RUN RR                          'y   CNS              1o.61                   04.320                    4 5 - 84
                               ' 394380 ,/                                                                                                                                             10.15                   04.320                    43.85
                              --" 3 94 3 81 v-                                                                                                                                         11. 28                  04.320                    48.73
                                \i 394388v
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                              "-... 394393~                                                                                                                                            12 .. 36                04.320                    53.40
                                )!394397 '-"""'"                                                                                                                                       13 .. 30                04.320 '                  57. 46
                              \.;,394400~
                             "\t       394401
                               \,3 94 4 0 6V""
                             ~ . . . . 394416~
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                              \.• 3 94 4 1 8 - /                                                                                                                                       09. 92                  04 .320 I                 42.85
                             '_\i 39442QV,                                                                                                                                             11. 73                  04.320 I            I
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                             .\il   394422~                                                                                                                                            12 .. 68                04.320                    54. 78
                              '-'1394425 ... ./
                              ,\1394427V./·
                               ''1 394428v .
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   . 08 /21 t394458~                                                                  025                         IQRY RUN                          RR           TONS                   11.59                  04.320                       50.07
             '3944.59 /                                                                                          :                                                                      13. 71                 04.320                       59. 23
            )394460 /                                                                                                                                                                   13.31                  04.320                       57.50
            ,'l 394465,,,..                                                                                                                                                             13 .. 67               04.320                       59.05
            ,'<394468V /                                                                                                                                                                14. 01                 04.320                       60.52
            '· 394469 v                                                                                                                                                                 16. 41                 04.320                       70.89
            'v3944 70/./                                                                                                                                                                17. 23                 04.320                       74.43
            \;3944 76-<..-/                                                                                                                                                             13 .. 42               04 .. 320                    57.97
            '-y394479~                                                                                                                                                                  13. 75                 04.320                       59.40
                              "\-394482~                                                                                                                                                12. 83                 04. 3 20                     55.43
                             .\·3 94 4 8 3
                             '~ 394495..,. /
                                                v---::                                                                                                                                  13. 73                 04.320                       5 9. 31
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                             .\·394501 v ' .                                                                                                                                            18. 02                 04.320                       7 7. 85
                             '-!394515/                                                                                                                                                 1.3.79                 04.320                       5 9. 57
                             \._.394527~                                                                                                                                                15. 77                 04.320                       68.13
                             ..y 3 94 5 31 \/""" "
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                             ·."i394533~                                                                                                                                                14.13                  04.320                       61.04
                             ) 394535...--                                                                                                                                              13. 60                 04.320                       58.75
                             \l, 3 94 5 36/,....--                                                                                                                                      13.28                  04.320                       57.37
                             ~' 394538~                                                                                                                                                 , 3 .. 29              04.320                       57.41
                              '. 3 94 5 4 3     ~      .-/"                                                                                                                             1 3. 31                04.320                       57.50
                             .'1'3945 56 \,/"'"                                                                                                                                         11. 79                 04.320                       50. 93
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                             \ 394570:....---'                                                                                                                                        11 .. 46                 04 .. 320                    49 .. 51
                             \ 394573
                      .:.     "' 394574~
                             \, 394575
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TERMS: Payable in full by lhe I Slh of



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each month following monfh ol shipment.
5ee p;iymenl due date above.
                                                                                                                                                                                                      TOTAL                 CONTINUED-03
>rodocl weights are furrushed by S\YQrn agents of lhe Southern/We.stern Wcightiny and lnspeclJOn Bureau. These weights are lo govern selllements.

V• ~:ten monlh or parl lhereof lh.11 amounls due hereunUer arc 1101 paid when due, !here w1U b~ (\(j(Jed lo such amCA.1111 a late charge comouled al lh'?
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11 : ol 1 ':·'\i per monlh or al lhe maximum rare permilled unLh.}r CJpphcable law or al such sesser rate as m3y bf: 1:stabl1shed by VulcJ:n from llmt'! to time
u:...1011)1,,. sh;,11 paiy all costs of coneclion 1nckJding" 1cnsonnlJft! al!omey's hw for Sf.!rvtces rNi...1e:eci by suit L" olht!rw1se in collecti119 pasl due m110ices
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                                           Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 61 of 174
'UILQll
terials G"orhpany

J TO                                                                                                                                              PAYMENTDUE                    09/15/97
                      LAWRENCE COUNTY                                                                                                             PLEASE RETURN ONE COPY OF
                      COUNTY COURTHOUSE                                                                                                           INVOICE WITH PAYMENT TO:
                      WALNUT RIDGE AR 72476
                                                                                                                                                                      VULCAN ~ATERIALS CO
                                                                                                                                                                      SOUTHERN DIV
                                                                                                                                                                      P     0 BOX              1000
                                                                                                                                                                      DEPT 374
PED 10                COUNTY ROADS                                                                                                                                    ME~PHIS,                     TN 38148-0374
                      MISC.TAX. LIST PRICE C3)                                                                                                   TAX EXEMPT l.D.:

'CICE NO                  INVOICE DATE          I DEPT      i           CUSTOMER NO.        J OUR ORDER NO.   I SALESMAN I

1110 ,08/30/97 ro1 !0730500 j1ao1s4l02a
; :;>uPPlD
                                                                                                                             i                        CUSToMER ORDER NO.                                I
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                                                                                                                                                                                                              LADING     I      FREIGHT

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                             CAR : TICl\ET NO.                          ?ROD.CODE       I            DESCRIPTION
                                                                                                                                        I UNIT                        QUANTITY
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8/22 \:i445534~
                                                                                                                                                                                                                             AMOUNT
                                                                         025            iQRY     RUN RR                                                                                    I 04. 3 20
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     .\i 445 5 37 v                                                 I                   I                                                TCNS                       12.13                                                    52. 40
     .\.> 445 5 4ov                                                                     I                                                                           11 - 85                i 04 .3 20                        51.19
      -~ 44554110-
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        '!-445544V"                                                                                                                                           J    13. 39                    04. 3 20                        57. 84
                  t445552~                                                                                                                                         11. 77                          04 .3 20                  50.85
               ~445559 . .-                                                                                                                                        12. 67                          04.3 20                   54. 73
               .'f    445560v                                                                                                                                      12. 75                          04 .320                   55. 08
             ~445564~                                               i                   I                                                                          11.67
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             -~445566V,....­
              ~445575 v                                                                                                                                            12. 98                  l       04.320                56. 07
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                                         AFFIDAVIT TO COUNTY ACCO~T                                       .
COUN':Y OF LAWRENCE                        WALNUT RIDGE, ARKANSAS                      \._;~(
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THE STATE OF ARKANSAS               fSS.
COUNTY OF LAWRENCE
     I,                                                                             , do solemnly swear that the foregoing
claim is iust and correct, and that no part thereof has been paid previously; that the services charged for, or materials
furnished, as the case may be, were actually rendered or furnished, and that the charges made therefor do not exceed the
amount allowed by law, or customary charges, for similar services or materials furnished:it'.~~l\;~timated and paid in
lawful money of the United States; end that said accounts, claims, demands or fee !f'.il{n~J~larged, enhanced or
otherwise made greater in consequence of, or by reason of any estimated, su§\l'UtG~n_r5~l,ita~o£Af\Y<t..'leiii the value of
county warrants.                                                                       · '

                                                                              Signed          ::;r:P[J,jl 1997
Sworn to and subscribed before me this              ---~-~~~day of                      .                     . t.       ....       19_ _
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By   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ o.c.
     Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 64 of 174

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                 LAWRENCE COUNTY QUORUM COURT
                  JOURNAL OF PROCEEDINGS
                           July 11, 2016
                             5:30 p.m.


The Lawrence County Quorum Court met in regular session at 5:30
p.m. in the courtroom of the Lawrence County Courthouse with
Judge Freeman presiding. Members present: Briner, Clark,
Crafton, K. Jones, Latham, Moore, Richey and Wayland. Absent:
None.

Minutes of the previous meeting, which were provided in advance,
were accepted by motion of Moore, seconded by Richey.  By voice
vote the motion carried.

A letter of resignation from Justice Jim Jones was read, K.
Jones moved, seconded by Moore to accept the resignation of
Justice Jim Jones.

The court went into executive session to di.scuss this
resignation and to discuss the person that they would like to
ask the governor to appoint to fill Mr. Jones' position.
Justices made the decision to ask that Glen Smith and Pardo
Roberts names be sent to the governor for consideration.

A resolution accepting the resignation of Justice Jim Jones was
discussed. Roll call vote For: Briner, Clark, Crafton, K.
Jones, Latham, Moore, Richey and Wayland. Against: None.

The Treasurers report, which was provided in advance was
discussed, Jones moved, seconded by Moore to approve the report
as oresented.  Bv voir.P. votA thA mntinn r~rrio~
   Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 65 of 174



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All business being complete, Jones moved, seconded by Moore for
adjournment.

The Lawrence County Quorum Court stands in adjournment.




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                                 Dale Freeman, County Judge



                                 Tina Stow~rs, County Clerk
          Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 66 of 174




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      Roll call vote For: Briner, Clark, Crafton, K. Jones, Latham,
      Moore, Richey and Wayland. Against: None.

      A resolution was read to allow the Circuit Clerk to apply for a
      grant from the Automated Records System Fund managed by the
      Association of Arkansas Counties and administered by the
      Automated Records Systems Fund Committee, this grant will be in
      the amount of $87,000.00.   Richey moved, seconded by Moore to
      approve the resolution as read.   Roll call vote For:  Briner,
      Clark, Crafton, K. Jones, Latham, Moore, Richey and Wayland.
      Against: None.

      Justices discussed a Disaster City to be erected at the Walnut
      Ridge Airport, this facility would be used by ASO to train
      emergency personnel for emergency situations. Latham moved,
      seconded by Clark to support this plan.  By voice vote the
      motion carried.

      An ordinance was read that would set the regular Quorum Court
      meeting at 7:00 pm on the second Monday of each month. Crafton
      moved, seconded by Wayland to accept the ordinance as read.
      Roll call vote For: Crafton, Moore and Wayland. Against:
      Briner, Clark, Jones, Latham and Richey.  By a voter of 3 to 5
      the ordinance failed and will remain at 5:30 pm on the second
      Monday of each month.

      An ordinance was discussed that would give county employees a 3%
      raise. After some discussion as to whether or not to make this
      retro-active or not Clark moved, seconded by Moore to make this
      raise retro-active.  The ordinance was read with the 3% being
      retro-active back to January 1, 2016 and part of the raise being
      given in a lump sum payment, Clark moved, seconded by Moore to
      approve the ordinance as read.  Roll call vote For: RrinPr
Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 67 of 174




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            WALNUT RIDGE,      AR 7247&




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           COURT HOUSE BUILDING
           WALNUT RIDGE, AR 72476                                                                                                     L
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                                                                        READY Mix, iNc .
                                                                          P.O. Box 754
                                                                    POCAHONTAS, ARKANSAS              72455
                                                                          (501) 892-5212                       H
                                        Plants in Pocahontas, Walnut Ridge, Paragould, Corning, Piggott




           LAWRENCE CO. ROAD DEPT                                               cc~-- -,r 1 ·1
           COURT HOUSE BUILDING
           WALNUT RIDGE,        AR 7247&


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         LAWRENCE CO. ROAD DEPT                                                                                                        CC--717
         COURT HOUSE BUILDING
         WALNUT RIDGE, AR 72476

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                             C H A R L E S     F R I E R S 0 N,        I I I
                                          ATTORNEY AT LAW
                                 406 SOUTHWEST DRIVE - P.O. BOX 8007
                                     JONESBOR~ARKANSAS72403



                                         PHONE (870)   932-6643
                                         FAX (870)   931-0692


                                          March 28, 200 l


    Hon. Alex Latham, County Judge
    Lawrence County Courthouse
    West Main Street
    Walnut Ridge, AR 72476

    Dear Judge Latham:

    I write at the request of the Commissioners of Cache River Drainage District of
    Craighead, Jackson and Lawrence Counties. The Commissioners have been approached
    by several landowners who have fanning interest9 adjoining West Cache Ditch as it runs
    through Lawrence County. These landowners claim substantial crop losses over the past
    two years or so due to increased water levels which they believe has been caused by the
    replacement of a wooden bridge with some culverts where West Cache turns south just
    south of Sedgwick. [ believe the County installed these culverts ~ome two or three years
    ago.

    The Commissioners have inspected this situation during recent water levels and did find
    that the water level upstream from this crossing was substantially higher than that
    dovmstream. It is obvious that the structures are not adequate to pennit the full flow of
    water.

    It is the duty of this District, which has complete responsibility for West and East Cache,
    to see that flowage is not interfered with, whether by man-made objects or by natural
    siltation or drifts.

    We, therefore, call upon the County to inspect this situation and to take remedial steps.
    Whether this can be accomplished by further enlarging or rearranging the pipes that were
    installed or whether it requires the replacement of a wooden structure with more
    complete cleai·ance, we do not know and will leave that to your judgment.

    Since we are rapidly approaching crop season and the complaining parties do seem to
    have a point, we encourage your prompt attention to the matter.

    Very trutx,

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    cc:     Commissioners, Cache River Drainage District


                                                                                          Exhibit 4
Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 97 of 174




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Dick Jarboe
Attorney at Law


213 West Main
P.O. Box 549
                                                        Telephone 870-886-3535
Walnut Ridge, Arkansas 724 76-0549                         Fax 8 7 0-886-590 I
    April 27, 2001




    Mr. Noyl Houston
    Attorney at Law
    P. 0. Box 3076
    Jonesboro, AR 72403

             RE:   Lawrence County Bridge
     Dear Noel:

           I  am currently the County Civil Attorney and I have
     visited with Judge Latham about your letter of April 17,
     2001.   I am going to go out and look at this situation.

          The bridge which was replaced was apparently condemned
     by the State and the only way the County could make this
     road accessible was with the railroad tank cars.   This was
     the only way that we could fix the situation.

          I  doubt very seriously that there is anything that
     the County is going to be able to do but I am going out
     with the Judge and take a look at that next week.

                                              Very truly,


                                                     ~
                                              DICK JARBOE
     DJ:ydp

     pc:     Judge Alex Latham




                                                                      Exhibit 5
         Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 99 of 174




NOYL HOUSTON                    Houston Law Firm, P.A.            TELEPHONE (870) 935-3730
                                      ATIORNEYSATLAW                TELEFAX (870) 935..Q006
                                  A PROFESSIONAL ASS-OClATION
                                           923 UNION
                                         P.O. BOX 3076
                                  JONESBORO, ARKANSAS 72403




April 30, 2001


Mr. Dick Jarboe
Attorney at Law
P. o. Box 549
Walnut Ridge, AR            72476-0549                          ©©~)f
Re:     Cleo Watkins, Jr., et al v. Latham
Dear Dick:

Thank you for your letter of April 27th.

The way to fix the problem would be to install a proper bridge that
does not impede the flow of the water.          A bridge could be
constructed next to the concrete structure, and then the concrete
be removed. That way, those south of the bridge would have access
while the new bridge is being constructed, assuming it does not
take too long.

 Please let me hear from you at your earliest convenience.
 Best regards.

 Sincerely,

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 cc: ..tM:r. Cleo Watkins, Jr.
        Mr. Kenneth Gibson
        Dr. Tom Bishop
Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 100 of 174




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       Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 101 of 174

                       e                           e
Dick Jarboe
Attorney at Law


21.3 West Main
P.O. Box 549                                            Telephone 870-886-3535
Walnut Ridge, Arkansas 724 76-0549                         Fax 870-886-590 I

     May 3, 2001




     Mr. Noyl Hoµston
     Attorney at Law
     P. o. Box 3076
     Jonesboro, AR 72403

            RE:    Cleo Watkins, Jr., et al v. Latham
                                                    \

      Dear Noyl:

           I  have visited with the County Judge and the County
      has absolutely no funds to put in a concrete bridge.    I
      really don't know where that leaves us except to tell you
      that we don't have the money to solve your problem.
      According to the County Judge the railroad cars are not
      creating the problem anyway.

                                            Very truly,
                                              -~
                                            DICK JARBOE
      DJ:ydp

      pc:   Mr. Alex Latham




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                                                                     Exhibit 6
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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 102 of 174




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                                                                                       WATSON
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                                  DEPARTMENT OF THE ARMY                                           CEMVM-CO-l
                               MEMPHIS DISTRICT, CORPS OF ENGINEERS
                                   167 NORTH MAIN STREET B-202
                                                                                        CASH            '1Jl.:.%iJ
                                  MEMPHIS, TENNESSEE 38103-1894                  CORNAGHIE
                                           June 8, 2001
        REPLY TO                                                                 KRUEGER
        ATTENTION OF:



Regulatory Branch




Mr. Alex Latham
Lawrence County Judge
Lawrence County Courthouse
Walnut Ridge, Arkansas 72476

Dear Mr. Latham:

      This letter is in regard to your county's project located near Sedgwick, (Section 4, Township
lSN, Range 2E) in Lawrence County, Arkansas, at approximate latitude 35 -57-52.1907 and
longitude 90 -52-31.0112 on the Podo Creek 7.5 minute quadrangle map. A county road bridge
across Cache River Ditch was replaced with four boxcar culverts that impede and restrict flow.
Hydraulic analysis indicates potential adverse flooding upstream. The footprint of fill or direct
adverse impact to waters of the U.S. is approximately 0.13 acres. You are in violation of Sections
301 and 404 of the Clean Water Act (33 U.S.C. Sections 1311 and 1344).

     Since a permit has not been issued, it is required under law that you remove the fills
associated with the culverted road crossing by August 31, 200 l: You may construct a bridged
crossing provided it meets the requirements of the enclosed Nationwide Permit No. 14 and the
Nationwide Permit Conditions pursuant to Federal Register, Volume 65, Number 47, dated
March 9, 2000. Please advise us if you request authorization under this nationwide permit.

      It is unlawful for you to perform any work that may involve the discharge of material into
waters of the United States. You are advised that the unauthorized work on the property described
above may subject you to civil and/or criminal prosecution, including administrative penalties
and/or restoration. If further unauthorized work as described above is performed after receipt of the
letter, immediate legal action will be initiated on behalf of the United States Government.

     Your response to this letter is required to avoid further appropriate action. Submit your
~t          or disagreement of this order within 20 calendar days to the attention o~.
- - at the above address. If problems exist regarding the immediate removal of thebridge,
please discuss this in your reply.




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           Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 104 of 174
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          Should you wish to discuss the matter, please contact Judy 0. DeLoach at (901) 544-0737, and
     refer to File Number: 200109011/Cache 2001-01 l(JO).

                                                   Sincerely,

                                                    Original sigJWq by
                                                    ~ cio-v .~              (p   -;i_   :z. -t0   I
                                                   Daniel W. Krueger
                                                   Colonel, Corps of Engineers
                                                   District Engineer

     Enclosures

     Copy furnished:
     EPA, Region VI, Dallas, TX (Troy Hill, 6WQ-EM)
     USFWS, Conway, AR
     Noel Houston, Houston Law Firm, PO Box 3076,
       Jonesboro, AR 72403




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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 105 of 174




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      Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 106 of 174



                                 DEPARTMENT OF THE ARMY
                             MEMPHIS DISTRICT, CORPS OF ENGINEERS
                                 167 NORTH MAIN STREET B-202
                                MEMPHIS, TENNESSEE 38103·1894

                                        Mayl3,2003
        REPLY TO
        ATTENTION OF:
Regulatory Branch



Honorable Alex Latham
Judge, Lawrence County
Lawrence County Courthouse
Walnut Ridge, Arkansas 72476

SUBJECT: Unauthorized County Road Bridge Across Cache River Ditch

Dear Judge Latham:

     This letter is in regard to your county road crossing project near Sedgwick, Section 4,
Township lSN, Range 2E in Lawrence County, Arkansas. at approximate latitude 35-57-52.1907
and longitude 90-52-31.0112 on the Podo Creek 7.5 minute quadrangle map. A compliance
inspection was conducted on April 30, 2003. Based on the inspection, you are now considered in
compliance with Sections 301 and 404 of the Clean Water Act (33 U.S.C. Sections 1311 and 1344).

      Per our correspondence dated June 8, 2001, the bridge crossing meets the requirements of
Nationwide Permit No. 14 provided that the enclosed conditions are met. Please pay special
attention to the general permit condition number 21 (Management of Water Flows). The crossing
shall be maintained and debris shall be removed as needed to allow for the passage of norm.al or
expected high flows.

    A copy of this letter has been furnished to the Natural Resources Conservation Service in
Walnut Ridge, Arkansas; USFWS in Conway, Arkansas; EPA in Dallas, Texas; and Mr. Houston,
Houston Law F~ PO Box 3076, Jonesboro, Arkansas.

   If you have questions, contact Gregg Williams at (901) 544-3852, and refer to File
Number 200109011.

                                               Sincerely,

                                                wlk1 &. >.{~J
                                                LarryD. Watson
                                                Chief
                                                Regulatory Branch

 Enclosures




                                                                                          Exhibit 8
Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 107 of 174




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       Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 108 of 174

                                    GEORGE CARNEY
                                     4709 NW 77th Street
                                   Oklahoma City, OK 73132


September 16, 2009


Regulatory Branch
Department of the Army
Memphis District, Corps of Engineers
167 North Main St., B-202
Memphis, 1N 38103 - 1894

RE: West Cache River Relief Ditch

Dear Sir:

In the attached letter dated July 24, 2002, I brought it to your attention that the low-water
(culvert) bridge in SEC 4, Tl SN, R2E on the West Cache River Relief Ditch would have an
adverse affect on the Cache River. The sandbar (or delta as referenced in the letter) at the relief
ditch inlet and Cash River 3/8 mile south of US 63 is now three times larger than in 2002. The
sand bar, created by silt accumulations in front of the low-water bridge, is diverting floodwaters
against the east bank of Cache River in the NW/4, NW/4, SEC 2. A 40-feet section of bank is
completely eroded away. BUT MORE ALARMING, the next 10-year size flood will reroute the
river into the old river runs on the east side of Cache River and destroy l ,OOOs of acres of crop
 land on the east side of the river. The low-water bridge has to be removed and replaced with a
 bridge that will return the West Cache Relief Ditch to its original fonction and design.

 Although the preservation of Cache River is our main concern, the low water bridge also negates
 the original function and design of the West Cache River Relief Ditch. The term "low-water
 bridge" is misleading; the height of the subject bridge is too high above the streambed to
 function as a "low-water bridge". (There is a major difference in the function of a "relief ditch"
 and "drainage ditch".) The relief ditch was probably designed to carry 10-year floods. Floods of
 this magnitude have occurred 4 times in the last 2 years. The present "low-water bridge" will not
 allow the flow that was provided by the original timber bridge. Additionally, during flooding
 periods the upstream side of the culverts are plugged with floating debris before the flood
 recedes, essentially creating a dam. During major floods the "dam" in the relief ditch puts
  excessive (and unnecessary) pressure on the banks of Cache River.

 To support my observations I'm also attaching a site visit report with photos. Your
 considerations on this matter will be appreciated.

 Sincerely,



 George Carney
 COL, USAR (Ret), EN



                                                                                          Exhibit 9
      Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 109 of 174


                                    GEORGE CARNEY
                                     4709 NW 77th Street
                                   Oklahoma City, OK 73132


September 16, 2009


Honorable Alex Latham, County Judge
Lawrence County Courthouse
West Main Street
Walnut Ridge, AR 72467

RE: West Cache River Relief Ditch

Dear Judge Latham:

In the attached letter dated July 24, 2002, I brought it to your attention that the low-water
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 To support my observations I'm also attaching a site visit report with photos. Your
 considerations on this matter will be appreciated.

 Sincerely,



 George Camey
      Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 110 of 174


                                  CACHE RIVER SANDBAR
                                    "Sedimentation Study"
                                     September 10, 2009

    A sandbar in Cache River about 3/8 mile south of US Highway 63 has tripled in size since I
first noticed the sandbar in 2002. The sandbar (N/2, NW/4, NW/4, T15N, R2E) is at the inlet
(opening) on the river's west bank for the West Cache River Relief Ditch. During periods of
flooding the sandbar diverts the river's current against the east bank of Cache River. In the
NW/4, NW/4, SEC 2 about 40 feet of the east bank is essentially destroyed (see Point "X", Photo
Plate 3). Only a few feet of topsoil remains between the river at flood stage and an "old river
run" next to the eroded spoil bank. When the river breaks through this point, floodwaters will
damaged 1OOOs of acres of cropland on the east side of Cache River, and even threaten AR 230.

   In 2002, I wrote letters to the Lawrence County county judge and the Corps of Engineers
advising them that a culvert/concrete bridge ("low-water bridge") built in the Relief Ditch to
replace a timber trestle bridge is causing the sandbar (see Photo 2a, Plate 1). The "low-water
bridge" (SEC 4, T15N, R2E) is about 1.5 miles downstream (west) from the ditch's inlet
(opening) on the west bank of Cache River. No corrective action was taken.

   On September 4, Mr. Shannon Davis (Cache River Drainage District Commissioner) and I
visited the "low-water bridge" across the relief ditch (see Photo Plate 1). Mr. Davis asked that I
write a letter to the commission on my concerns about the dangers created by the "low-water
bridge" and explain how it has contributed to the deterioration of the banks of Cache River.

  The low-water bridge is composed of four 8-foot diameter steel culverts and one 9-foot
diameter steel culvert. The culverts are 40 feet long. The "low-water bridge" is about 54 feet
long. There is about 16 feet from the roadbed to the streambed (see Photo la).

   On September 7, Mr. Cleo Watkins and I inspected the "low-water bridge". We numbered the
 culverts from north to south 1-5. We discovered that the upstream end of culverts #2 and#3 (the
 lowest two culverts) were approximately 2 feet lower than their downstream ends. Additionally,
 the bottom of culverts #2 and #3 on the upstream side is about two feet above the streambed.
 Because the bottom of the culvert ends on the downstream side are two feet higher than the
 culvert ends on the upstream side, the "low-water bridge" has created a 4-foot sediment basin [2
 feet from streambed to bottom of culvert ends on the upstream side + 2 feet from bottom of
 culvert ends on upstream side to bottom of culvert ends on downstream side]. Because the
 sediment (bed load) of floodwaters cannot pass through the culverts, the sediment is "backing"
 into Cache River at the relief ditch inlet and thus creating the sandbar in Cache River.

           It is possible that the county work crew that installed the culverts assumed they
         were for a drainage ditch and set the culverts to drain east toward Cache River.
         They did not realized they were working on a relief ditch and the water was to flow
         west from Cache River and back into Cache River about 15 miles downstream.

 Additionally, the flow capacity of the "low-water bridge" is about 40% of what the relief ditch
 was designed for. The flow capacity is even less during flooding when it is plugged by
 floodwater debris, which occurs during every major flood.

 George Camey
                                                 Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 111 of 174



WE§T CACHE RIVER RELIEF DITCH                                                                                                           09/07/09
.. Low-water lbridge" in Sec 4 T15N R2E                                                                                       Plate 1
    1a. Downstrec1m side (looking south east). The "low-water                         1 b. "Low-water bridge" (2006 Aerial view). Note silt deposits east
    bridge" looks <)i<; its the upstream side that is causing the                     (right) o~ low-water bridge.
    damage. Note·: For this report, the five culverts are numbered
    left (north) to right (south) 1thru 5.
                                                                    .\··




1c. Silt deposits (looking east) on upstream side of "low-water                      1d. Center of "low-water bridge" (looking south). The landowner
bridge". Note: the man in the yellow shirt has pushed a 4-foot                       is pointing to the same pole in Photo 1c. The silt is 3'4" thick.
pole through U1e silt to the top of the streambed. His left foot is                  The bottom of the silt deposit (original stream bed) is about 4 feet
on top of the pole.                                                                  below the bottom of the downstream end of the two lowest
    .,.~    ~!f _¥·.1              ,, . . .,..
l
                                                                                     culverts. Note: the highest elevation of the two lowest
           ':t-   ,,
                                                                                     culverts (in this case the downstream side) controls the
                                                                                     thickness of the up~tream silt deposits .



                       . . • .!-
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WEST CACHE RIVER RELIEF DITCH                                                                                                            09/07/09
6
  'Low-water bridge" in Sec 4 T15N R2E                                                                                         Plate 2
 2a.Upstream $ide (Iool<ing west). The woody debris is the               2b. Upstream side (looking south). Man is standing on culvert #4.




                                                                                                                                              ,
 result of normal flooding. Note: The silt deposits between              Using the tree in background as a reference, it is apparent the
 the "low-wat1er bridge" and the sand bar in Cache River is              culverts are set lower on the upstream side than on the down
 caused beca1use the culverts in the "low-water bridge" are              stream side.
 set to hi h above the streambed.
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                                                                       2d. Downstream side (looking south). Man is standing on



.,.-
2c. Upstream side (looking south). Man is standing on upstream
end of culvert# 3. (Culvert #3 is the lowest culvert.) Note: his hat

,
is about 2 feet below the level of roadbed.
 ....   ··,   ',
                                                                       downstream end of culvert #3. Note: his hat is about the level of
                                                                       the roadbed. (The downstream end of Culvert #3 is about 2
                                                                       feet higher than the upstream end.
                                                                                                   ··~':   •   ·I~   ~· " .;
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WEST CACJllE RIVER RELIEF DITCH                                                               09/07/09
"Low-water bridge" in Sec 4 T15N R2E                                                Plate 3
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 George Camey
 4709 NW 77tb Street
 Oklahoma city, OK 73132

 July 24, 2002

 Hon. Alex Latham, County Judge
 Lawrence County Courthouse
 West Main Street
 Walnut Ridge, AR 72467

 RE: West Cache River Relief Ditch

 Dear Judge Latham:

As a property owner in Lav.Tence County, I would like to bring to your attention a serious
drainage situation in our county- the deterioration of the design and function of the West
Cache River Relief Ditch between its source just south of Highway 63 and a downstream
low-water bridge. The low-water bridge blocks the flow of floodwater.

The deterioration of the Cache River Relief Ditch is adversely impacting our furmlands
and water quality. When the Cache River is above flood stage the excess water that
should be going down the relief ditch floods out farms in both Lawrence and Craighead
Counties.·

 The West Cache River Relief Ditch is filling up \\ith sediment, another direct result of
the low-water bridge. The water in Cache River doesn't have to reach the high-water
mark for this process to occur as the low-water bridge acts as a sedimentation dam. The
West Cache River Relief Ditch is so full of sediment that a delta is forming out into
Cache River at the relief ditch's inlet. The delta is changing the course of the river,
which in turn will adversely affect irreplaceable wetlands on the east side of Cache River.
(Those wetlands, by the way, are accessed in Lawrence County).

We must protect our agriculture resources and water qllillity. The grateful citizens of our
county will appreciate your timely attention to this matter.

Sincerely,




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                       e                                        e
                                                                          15 May, 2001

To:                , Regulatory Branch, USACE Memphis District
                      , Hydraulics Branch
                 , Hydraulics Branch

Subj: WEST CACHE RIVER DITCH RURAL ROAD CROSSING

A cursory analysis of the rural roadway crossing of the West Cache River Ditch has been
completed. It is located near Sedgwick, (Section 4 Township l 5N Range 2E) in
Lawrence County, Arkansas, at approximate latitude 35 -57-52.1907 and longitude 90-
52-31.0112 on the Podo Creek 7.5 minute quadrangle map. An existing county road
bridge across the West Cache River Ditch was replaced with four boxcar culverts (8'
diameter).

Analysis of Change in Water Surface Elevations for Bridge and Culvert Crossings

Analysis of the previous conditions and existing culverts indicates potential adverse
flooding upstream. One year flows result in a 0.3 of a foot increase in upstream flow
lines due to the culverts. Bank-full flow occurs between the one and two-year flow event
and results in a 0.5 foot increase in flow lines due to the culverts, which is considered
significant upstream impacts. Also, one culvert appears to be partially distorted with a
damaged inlet and one other has a damaged inlet, which could further reduce flow
capacity through the culverts. Since this analysis shows induced damages upstream of
the culverts, it is felt that the culverts were not adequately sized. Information should
have be provided showing calculations used in the design. The information should have
included a surveys of the existing culverts and road crossing, a survey of the previously
existing bridge if available, and channel data that could be used to model water surface
elevations.

Flowmaster by Haestad Methods was used to calculate the flow occurring at bank full
conditions, which was about 247ft, NGVD. The cross section geometry was input and
calibrated in Flowmaster. The resulting flow was 779cfs at bank-full for previous
conditions.

CulvertMaster by Haestad Methods was used to analyze the flow through the culverts and
the resulting headwater. Four culverts, eight-foot diameter, were modeled using 1.01-
year, bank full, and 2-year flow quantities. The tailwater elevation (downstream water
surface elevation) was based on the existing backwater model information. The roadway
was modeled as an embankment SOft wide at the toe and 3:1 side slopes. The roadbed toe
elevation was 237ft. The roadbed surface was set at elevation 245.Sft, which attempts to
replicate the 'dip' as the road crosses the ditch. This produces a conservative headwater
elevation using a bank-full elevation of 247ft. The road will be overtopped and weir flow
will be modeled before reaching bank-full conditions, thereby reducing headwater
elevations. The roadbed surface was modeled at this elevation because a survey of the
new crossing was not available.




                                                                                  Exhibit 12
                                                                          f.Nc.L.{IJ
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                         e                                          e
Flows 2-year and greater are large enough to cause out of bank flooding conditions
regardless of the culverts and were not analyzed. CulvertMaster results for the I-year
flows and bank full flows are summarized below.

                         Existing Conditions: Culverts
                                       1.01 year   Bank Full
                          Flow, cfs    604         779
                          WS Elev, ft 245.98       247.47

Comparing the existing culvert crossing against the previous bridge crossing flowlines
shows an increased headwater elevation occurring behind the culvert crossing. These
values are .3ft for the 1.01 flow condition arid .5ft for the bank full condition (bank full
occurs at elevation 24 7ft).

This analysis shows that the culverts have an effect on water surface elevations in the
location of the bridge. Culverts should have been sized to closely match the flow
capacity and conveyance capability of the bridge that was replaced, which could help
reduce the upstream water surface elevation to an acceptable level.

                                                       Sincerely,




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Copy to:




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Memo For File: 10/5/2009

Subj.: Field Inspection of Possible Violation, Cache River Relief Ditch Bridge, Lawrence
Co., AR

I met with Cleo Watkins and George Camey at the location of the bridge crossing of the
Cache River Relief Ditch on October 2, 2009. The Cache River Relief Ditch is a Section
404 RPW. Mr. Camey explained to me the problems he is experiencing with bank
erosion on his property which he believes is originating as a result of the bridge crossing.
Mr. Camey provided me with aerial drawings, photographs, and a narrative description
with respect to his concerns; copies of which are in the project file.

It was noticeable during the survey that the pipes were mostly clogged and regular
maintenance will be required to keep the pipes open. Both Mr. Camey and Mr. Watkins
told me that the bridge was constructed by the County Mayor in 2002 or just before. I
stepped off the approximate dimensions of the bridge crossing and made a sketch (field
notes in file).

I explained to Mr. Watkins, in a phone call on 10/5/2009, that since the bridge crossing is
over five years old it is past our statute of limitations to proceed with further enforcement
action. I also explained to Mr. Watkins, that if Mr. Camey plans to protect areas of
unstable banks on his property, to please contact Josh Bright/USACE as he handles
permitting issues in Lawrence County.                 -------------




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                                                                                    Exhibit 13
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            ~
                                                        PPGMR LAW, PLLC
                                                        101 MORGAN KEEGAN DREVE, SUITE A I LITTLE ROCI<, AR 72202
                                                        P.O. BOX 251618 I LITfLE ROCK, AR 72225-1618


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                                                        JULIE DEWOODY GREATHOUSE
                                                        JULIE®PPGMRLAW.COM



                                           June 3, 2016

Mr. Dale Freeman
Lawrence County Judge
obo Lawrence County, Arkansas
315 W. Main St. Room 1
Walnut Ridge, AR 72476

RE: Clean Water Act violations - Lawrence County Road 717 Bridge (Arkansas)

Dear Mr. Freeman:

       We represent several farmers living north of Jonesboro, Arkansas who have been, and
continue to be, adversely affected by Lawrence County's improper installation of a "bridge" on
county road 717 over the Cache River relief slough. Approximate longitude and latitude
coordinates are 35.964815, -90.875704.

       This letter serves as a 60-day notice of violations of Sections 301 and 404 of the Clean
Water Act pursuant to 33 U.S.C. § 1365. Section 301 of the Clean Water Act requires a National
Pollutant Discharge Elimination System permit for the bridge. There is no record from ADEQ
that Lawrence County ever applied for or received a Section 301 permit for the bridge. Section
404 of the Clean Water Act requires any person proposing to place dredge or fill material into
waters of the United States or adjacent wetlands to obtain a permit from the U.S. Army Corps of
Engineers. There is no record from the COE that Lawrence County applied for or received a
Section 404 permit for the bridge.

       Because this bridge was unlawfully constructed, our clients and others in the community
have experienced repeated flooding that threatens their safety and livelihood. The crossing is
routinely clogged with debris and causes sediment to build upstream, eliminating the slough's
purpose as a relief. My clients are open to a resolution that does not involve litigation. Be advised,
however, that if this problem is not properly addressed within the next 60 days, we will file a Clean
Water Act citizen suit, along with pursuing alJ other legal remedies available.




cc:     Mr. Mike McAlister, Acting Legal Supervisor, Arkansas Department of Environmental Quality
        Offices of Regional Counsel & Regional Administrator, EPA Region 6
        Lt. Col. Rhett Blackmon, Acting Commander, U.S. Army Corps of Engineers, Memphis District
        Mr. Randy Young, Director, Arkansas Natural Resources Commission

                                                                                                Exhibit 14
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                                            ORDINANCE#
                                                              q
                                                             ---
         Whereas, the Flood Insurance Study (FIS) and/or Flood Insurance Rate Map (FIRM) for
         Lawrence CoWlty. Arkansas is scheduled to be updated by the Federal Emergency Management
         Agency (FEMA);

         Whereas, revisions to flood insurance studies and flood insuran~ rate maps require that these
         new documents be adopted by Lawrence County, AR.                      ·
         Whereas, th.is ordinance replaces Ordinance No. 1991-3 dated March 3, 1991 to formally adopt
         the new flood insurance study and flood insurance rate map;

         BE IT ENACTED BY THE { Quorum Court     }OF { Lawrence County   }
         ARKANSAS, AN ORDINANCE TO BE ENTITLED: "AN ORDINANCE PROVIDING FOR
         THE ESTABLISHMENT OF A FLOOD DAMAGE PREVENTION PROGRAM FOR
         { Lawrenee Counnr } AND FOR OTHER PURPOSES."

         SECTION 1. STATUTORY AUTHORITY

         The Legislature of the State of Arkansas has in Ark. Code Ann.§ 14-268-101 et seq., delegated
         the responsibility of local govermnental units to adopt regulations to minimize flood losses.
         Therefore, the {Quorum Court} of {         Lawrence County · }, Arkansas, does hereby
         ordain as follows:

         SECTION 2. FINDINGS OF FACT

         A. The Federal Emergency Management Agency (FEMA) has identified Special Flood Hazard
            Areas of { Lawrence County, Ai-kansas } in the current scientific and engineering
            report entitled "The Flood Insurance Study (FIS) for { Lawrence County, Arkansas
            and incorpoi-ated areas}," dated { December 18, 2012 }, with an effective Flood
            Insurance Rate Map (FIRM) dated { December 18, 2012}.

         B. These Special Flood Hazard Areas a.re subject to periodic flooding events that result in loss
            oflife and property, pose health and safety hazards, disrupt commerce and governmental
            services, and cause extraordinary public expenditures for flood protection  andrelief, all of
            which adversely affect the public health, safety and general welfare.

         C. These periodic flooding events are exacerbated by the cumulative effect of floodplain
            developments which cause an increase in flood heights and velocities, and by the placement
            of inadequately elevated, inadequately floodproofed or otherwise unprotected structures or
            uses vulnerable to floods into Special Flood Haza.rd Areas. Such structutes or uses are
            inherently hazardous to other lands because of their adverse impact on flooding events.




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                                                                                                  Exhibit 15
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          SECTION 3. STATEMENT OF PURPOSE

          The purpose of this ordinance is to promote the public health, safety and general welfare, to
          prevent adverse impacts from any floodplain development activities, and to minimize public and
          private losses due to flooding events in identified Special Flood Hazard Areas. This ordinance
          advances the stated purpose through provisions designed to:

          A. Protect human life and health;

          B. Protect natural floodplains against unwise development;

          C. Eliminate adverse impacts of necessary floodplain development;

          D. Minimize expenditure of public monies on flood control projects;

          E. Minimize the need for rescue al.ld relief efforts associated with flooding and generally
             undertaken at the expense of the general public;

          P. Minimize prolonged business interruptions due to flooding events;

          G. Minimize damage to public facilities and utilities such as water and gas mains, electric,
             telephone and sewer lines, streets and bridges located in Special Flood Hazard Areas;

         H. Minimize future flood blight areas to help maintain a stable tax base; and

         I. Provide for notice to potential buyers when property is in a Special Flood Hazard Area.


         SECTION 4. LANDS TO WlllCH TIDS ORDINANCE APPLIES

         The ordinance shall apply to all Special Flood Hazard Areas within the jurisdiction of
         { Lawrence County, Arkansas }


         SECTION 5. METHODS OF REDUCING FLOOD LOSSES

         This ordinance uses the following methods to accomplish the stated purpose:

         A. This ordinance restricts or prohibits structures or uses in Special Flood Hazard Areas that
             adversely impact health, safety or property during flooding events;

         B. This ordinance requires protection against flood damage for structures or uses vulnerable to
            floods at the time of initial construction, or after substantial improvement of the structure, or
            after substantial damage has occurred;




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          C. This ordinance controls the alteration of natural floodplains, stream channels and natural
             protective barriers which are jnvolved in the accommodation and transport of flood waters;

          D. This ordinance controls floodplain development (structural development, placement of
             manufactured structures, clearing, gi:ading, mining, drilling, dredging, placement of fill,
             excavating, watercourse alteration, drainage improvements, roadway or bridge construction,
             individual water or sewer installations and other activities) which may increase flood damage
             by increasing flood elevations, flood water velocities, or flood discharge patterns;

          E. This ordinance regulates the construction of flood barriers which unnaturally divert
             floodwaters or which may adversely impact other lands.




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          SECTION 6. FLOOD DAMAGE PREVENTION CODE ADOPTED BY REFERENCE.

          There is hereby adopted by reference a "Flood Damage Prevention Code for { Lawrence
          Countv }, Arkansas," dated {November 12, 2012} The code shall include:

                      ARTICLE 1 DEFINITIONS
                      ARTICLE 2 ADMINISTRATION
                      ARTICLE 3 PROVISIONS FOR FLOOD HAZARD REDUCTION

          A copy of the referenced code shall be filed in the office of the { County Judge } and shall be
          available for inspection and copying by any person during nol1Ilal office hours.


          SECTION 7. ABROGATION AND GREATER RESTRICTIONS

          This ordinance does not repeal, abrogate, or impair any existing easements, covenants, or deed
          restrictions. Whenever there is a conflict or overlap between this ordinance and another
          ordinance, easement, covenant, or deed restriction, the instrument with the more stringent
          restrictions applies.


          SECTIONS. INTERPRETATION

          In the interpretation and application of this ordinance, all provisions must:

                A. Be considered as minimum requirements;

                B. Be liberally construed in favor of the governing body; and

                C. Be deemed to neither limit nor repeal any other powers granted under State statutes.


          SECTION 9. WARNING AND DISCLAIMER OF LIABILITY

          The degree of flood protection required by this ordinance is considered reasonable for regulatory
          purposes. Documented scientific and engineering data fonn the basis for these requirements. On
          rare occasions, floodjng events greater than those considered for this ordinance will occur. In
          addition, flood heights may increase over time due to man-niade or natural causes. This
          ordinance does not imply that land outside Special Flood Hazard Areas will be free from
          flooding, nor that strict adherence to this ordinance protects uses permitted within Special Flood
          Hazard Areas from all flood damages. This ordinance specifically does not create liability on the
          part of the community, nor any official or employee of the community, for any flood damages
          that result while strictly following this ordinance, or from any lawful administrative decision
          made under the provisions of this ordinance.




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          SECTION 10. COMPLIANCE

          Constructing, locating, substantially altering or changing the use of any structure or land after the
          effective date of this ordinance requires full compliance with the provisions of this ordinance and
          all other applicable regulations.

          SECTION 11. PENALTY FOR NON-COMPLIANCE

          Flood hazards are reduced by compliance with the provisions of this code. Accordingly,
          enforcement of this ordinance discourages non-compliance and is a recognized mechanism for
          flood hazard reduction.

          A. The Floodplain Administrator must enforce the provisions of this ordinance and is authorized
             to

          B. Issue cease and desist orders on non-compliant floodplain development projects;

          C. Issue citations for non-compliance;

          D. Request that FEMA file a 1316 Action (Denial of Flood Insurance) against non-compliant
             properties; and

          E. Take any other lawful action necessary to prevent or remedy any jnstance of non-compliance
             with the provisions of this ordinance.                                        ·

                (1) It is a misdemeanor to violate or fail to comply with any provision of this ordinance.

                (2) Any person found, in a court of competent jurisdiction, guilty of violating this
                    ordinance is subject to fines of not more than $500 per day for each violation; in
                    addition the defendant is subject to payment of all assocjated court costs and costs
                    involved in the case.




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          SECTION 12. SEVERADILITY

          If any cotirt of competent jurisdiction finds that any section, clause, sentence, or phrase of this
          ordinance is invalid or unconstitutional, that finding in no way affects the validity of the
          remaining portions of this ordinance.

          SECTION 13. EMERGENCY CLAUSE

           It is hereby found and declared by {         Lawrence Connt;y, Arkansas            } that severe
          flooding has occurred in the past within its jurisdiction and will certainly occur within the future;
          that flooding is likely to result in infliction of serious personal injury or death, and is likely to
          result in substantial injury or destruction of property within its jurisdiction; in order to effectively
          comply with minimum standards for coverage under the National Flood Insurance Program; and
          in order to effectively remedy the situation described herein, it is necessary that this ordinance
          become effective immediately.

          Therefore, an emergency is hereby declared to exist, and this ordinance, being necessary for the
          inun.ediate preservation of the public peace, health and safety, shall be in full force and effect
          from and after its passage and approval.

                                                  APPROVED:          {a,lb        \<{~
                                                                  Da~eeman, County Judge


                 PASSED: November 12, 2012

                 ATTEST:      d1yM/;w1!/AAJ
                             Tina Stowers, Cotinty Clerk

                                                    CERTIFICATION

         I, the undersigned, Tina Stowers, do hereby certify that the above is a

         true and coa:ect copy of an ordinance duly adopted by the Quorum Court of

         Lawrence County, Arkansas, at a. regular meeting duly convened on November 12, 2012.


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         Tina Stowers, County Clerk




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         ..                       FLOOD DAMAGE PREVENTION CODE
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                                               ARTICLE 1 DEFINITIONS
                   Unless specifically defined below, words or phrases used in this Code have their common usage
                   meaning to give the most reasonable application to this Code.

                   Additional defm.itions for floodplain management terms can be found at Part §59 .1 of 44 CFR.

                  44 CFR {Emergency Management and Assistance -National Flood Insurance
                  Program Regulanons) Parts 59-75 contain Federal reguiations upon which local floodplain
                  managements are based

                  44 CPR § 65.12 - contains the· section of the Federal regulations which involves revision of
                  flood insurance rate maps to reflect base flood elevations caused by proposed encroachments.

                  "I 00-year flood'' is any flood with a 1% chance of occurring in any given year. The tennis
                  misleading, because ofits statistical derivation. A "100-year flood" may occur many tillles in
                  any given I 00-year period, or it.may not occur at all in 100 years.

                "500-year flood" is any flood with a 0.2% chance of occurring in any given year. As with the
               100-year flood, this term is also misleading, because of its statistical derivation. A «500-year
               flood" may occur many times in any given 500-year period, or it may not occur at all in 500
               years.

               "Accessory Structures" are structures which are on the same parcel of property as the
              principle structure and the use of which is incidental to the use of the.principle structure (such as
              garages and storage sheds).

              ''Adverse impact" means any negative or hannful effect.

              ''AE or Al-30 Risk Zones" are special flood hazard areas where detailed studies have
              detennined base flood elevations. AE has replaced Al-30 in newer flood maps.

              ''AH Risk Zones'' are special flood hazard areas characterized by shallow flooding with
              ponding effects (where floodwaters accumulate in depressions and linger until absorbed or
              evaporated).

              ''AO Risk Zones,, are special flood hazard areas characterized by shallow flooding with sheet
          flow (where floodwaters flow in a broad, shallow sheet rather than through a narrow charuiel).
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          "A Risk Zones" are special flood hazard areas without detaile.d studies, where base flood
          elevations have not been determined.

          ''Appeal Board" means a person or persons specifically designated to render decisions on
          variance applications and floodplain management complaints.

         ''Automatic" entry and exit of floodwaters means that the water must be able to enter and exit
         with no intervening action from a person.

         "Base flood" means the flood having a one percent chance of being equaled or exceeded in
         any given year.

          "Basement" is any enclosed area that is below grade on all sides.

         "BFE" is the acronym for Base Flood Elevation.

        "Buoyancy" is the upward force exerted by water. Buoyancy can cause W1derground t.anks to
        float free and can lift structures off foundations.

        "Certificates of Compliance" are fonnal documents issued by floodplain administrators
        certifying that completed projects comply with the requirements of the local Code.

        "CFR" is the acronym for the Code of Federal Regulations. The Code of Federal Regulations
       is the codification of the general and pennanent rules published in the Federal Register by the
       executive departments and agencies of the Federal Government. It is divided into 50 titles that
       represent broad areas subject to Federal regulation. The Federal regulations pertaining to the
       national Flood Insurance Program are found in title 44, Emergency Management and Assistance.

       "Clea-ring" is the act of cutting timber or shrubs from an area

        "Commercial business park" is typically an area of offices or light industrial usage,
       although retail, sezvice, or mdustrial usage is sometimes included in suppo1ting roles. For
       example, a commercial business park of office complexes may aJso include restaurants which
       service these offices.

      "Concrete deadman anchors,, are heavy steel rods embedded in buried sections of
      concrete, used to secure items in place under tension.

       "Covenant" is a clause in a contract that requires one party to do, or refrain from doing, certain
      things. A covenant freque1itly appears as a restriction that a lender imposes on a borrower.



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         "Crawlspace" is a type of structural foundation where the space beneath the lowest floor is
         typically not deep enough to allow a person to stand and not all four walls are below grade.

          "Critical Facilities,' include: Governmental facilities that are considered essential for the
         delivery of critical services and crisis management (such as data and communication centers and
         key governmental complexes); facilities that are essential for the health and welfare of the whole
         population (such as hospitals, prison~, police and fire stations, emergency operations centers,
         evacuation shelters and schools); mass transportation facilities (such as airports, bus tenninals,
         train terminals)~ lifeline utility systems (including potable water, wastewater, oil, natural gas,
         electric power and communications systems); high potential loss facilities (such as nuclear power
         plants or military installations); hazardous material facilities (such as industrial facilities housing
         or manufacturing or disposing of corrosives, explosives, flammable materials, radioactive
         materials and toxins.

         "D Zones" areas in which the flood hazard has not been detennined, but may be possible

         "Deed restriction,, refers to a clause in a deed that limits the futuie uses of the property in
         some respect. Deed restrictions may impose a vast variety of limitations and conditions, for
         example, they may limit the density of buildings, dictate the types of .structures that can be
         erected, prevent buildings from being used for specific purposes or even from being used at all.

         "Development" means any man-made change to improved or unimproved real estate. It
        includes, but not limited to, construction, reconstruction, or placement of a building, or any
        addition or substantial improvements to a building. "Development" also includes the instaJlation
        of a manufactured home on a site, preparing a site for a manufactured home, or installing/parking
        a travel trailer. The installation of utilities, construction of roads, bridges, culverts or similar
        projects are also "developments." Construction or erection of levees, darns, walls, or fences;
        drilling, mining, filling, dredging, grading, excavating, paving, or other alterations of the ground
        surface are "developments." Storage of materials including the placement of gas and liquid
        storage tanks are "developments," as are channel modifications or any other activity that might
        change the direction, height, or velocity of flood or surface waters_ "Development" will normally
        not jnclude maintenance of existing drainage ditches, gardening, plowing, planting, harvesting of
        crops, or similar practices that do not involve filling, grading, or construction of levees.

         "Development Permit" refers to the permit required for placing a "development" in the
        floodplain.

        "Easements,, are rights or permissions held by one person to make specific, limited use of
        land owned by another person.

         ''Elevatiolt Certificate" refers to FEMA form 81w31, which for the purposes of this Code
        must be properly completed by a Professional Engineer, Surveyor or Architect licensed to
        practice in the State of Arkansas.
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                    "Erosioll" is the process of soil removal by moving water.

                    ''Existing Structure" means, for .floodplain management purposes, a structure which is in
                    place before any reconstruction, rehabilitation, addition, or other improvement talces place.

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                    "Existing Manufactured Home Park or Subdivision" means a manufactured home
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                   park or subdivision for which the construction of facilities for servicing the lots on which t11e
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       ~           manufactured homes are to be affixed (including, at a minimum, the installation of utilities, the
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                   con.st.ruction of streets, and either final site grading or the pouring of concrete pads) is c-0rnpleted
                   before the effective date of the .floodplain management regulations adopted by a community.
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       .-           "Expansion to an Existing Manufactured Home Park or Suhdivsioll" - means the
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                   preparation of additional sites by the construction of fucilities for servicing the lots on which the
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                   manufactured homes are to be affixed (including the installation of uti1ities, the construction of
                   streets, and either fmal site grading or the pouring of concrete pads).

                  "Federal Emergency Mallageme11t Agellcy'J, or FEMA, is the Federal agency
                  responsible for administering the Natio.Q.al Flood Insurance Program.

                  "FEMA" is the acronym for the Federal Emergency Management Agency.

                  "Fill" refers to the placement of natural sand, dirt, soil, rock, concrete, cement, brick or similar
                  material at a specified location to_ bring the ground surface up to a desired elevation.

                  ''FIRM" is the acronym for Flood Insurance Rate Map.

                  "Flood Fri1tge" refers to the portion of the 100-year floodplain which is outside the tloodway
                  (See definition offloodway below.)

                 "Flood Insurance Rate Map" (or "FIRM"} refers to the official flood map of a
                 community on which FEMA has categorized Special Flood Hazard Areas into risk premiwn
 en              zones.
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 ..,,.z::        flood maps
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                 "Flood lnsurallce Study)' (or "FIS,.) is the official report provided by FEMA. It contains
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                 flood profiles, floodway tables, engineering methods, and other descriptive and technical data.

                 "Floodplain Management') means the operation of an overall program of corrective and
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     I           preventive measures for reducing flood damage, including but not limited to emergency
           gs    preparedness plans, flood control works and floodplain management regulations.


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          '"Flooding events" are general or temporary conditions of partial or complete inundation of
          normally dry land areas from the overflow of inland or tidal waters, or from the unusual and
          rapid accumulation or runoff of surface waters from any source.

          "Floodplain" refers to any land area susceptible to inundation by floodwaters from any source.
          For the purposes of this Code, floodplain refers to the land area susceptible to being inundated
         by the base flood.


         "Floodplain Administrator" refers to the community official designated in the local Flood
         Damage Prevention Code as responsible for the Code's administration.

         "Floodplain Development Perniit" is a pennit issued by the local Floodplam
         Administrator and is required before beginning any development in an area designated as a
         Special Flood Hazard Area on the community's FIRM.

        "Floodproofing'' is a combination of structural and nonstructural additions, changes, or
        adjustments to structures that reduce or eliminate the risk of flood damage.

         "Floodproofil'lg Certificate" refers to FEMA form 81-65, which for the purposes ofthis
        Code must be properly completed by a Professional Engineer or Architect licensed to practice in
        the State of Arkansas.


        "Floodway'' or "Regulatory Floodway" refers to a stream channel and the land to either
       side of the stream channel that must remain undeveloped and open in order to allow floodwaters
       to pass without increasing the base flood elevation more than a desjgnated height For the .
       purposes of this Code, the height is one foot (1 ft.). Severe restrictions or prohibitions arc
       imposed on development within the floodway.

        ''Flow-through openings" are openings specifically designed to allow floodwaters to flow
       into and out of enclosed spaces, minimizing the danger of foundation or wall collapse from
       lateral hydrostat.ic pressure.

       "Functionally dependent use" means a use which cannot perfomi its intended pUtpose
      unless it is located or carried out in close proximity to water. The term includes only docking
      facilities, port facilities that are necessary for the loading and unloading of cargo or passengers,
      and ship building and ship re.pair facilities, but does not include long-term storage or related
      manufacturing facilities.


      "Grade" means the surface of the ground.

      "Grading" means to smooth the surface of the ground, typically with heavy construction
      equipznent.
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          "llighest Adjacent Grade" (HAG) means the highest natural elevation of the ground
          surface prior to construction next to the proposed walls of a structure.

          "Historical Structure" means any structure that is:

         1. Listed individually in the National Register of Historic Places (a listing maintained by the
                Department of Interior) or preliminarily detennined by the Secretary of the Interior as
                meeting the requirements for individual listing on the National Register;

        2. Certified or preliminarily detennined by the Secretary of the Interior as contributing to the
            historical significance of a registered historic district or a d)strict preliminarily determined
            by the Secretary to qualify as a registered historic district;

        3. Individually listed on a state inventory of historic places in states with historic preservation
            programs which have been approved by the Secretary of the Interior; or

        4. Individually listed on a local inventory or historic places in communities with histotic
            preservation programs that have been certified either:

               a. By an approved state program as detennined by the Secretaiy of the futerior or;
               b. Directly by the Secretary of the Interior in states without approved programs.

       "Hydrodynamic fol'ces" are the forces and stresses associated with moving water. including
       impacts from objects carried in the water.

       "Hydrostatic flood forces', are the forces and stresses associated with standing floodwatets.

      "Lacustrine Flooding" is flooding associated with a lake.

      "Lateral forces" are the horizontal hydrostatic forces associated with standing water. Water
      exerts an equal force in all directions, and as little as three feet of standing water can generate
      sufficient lateral force to collapse a foundation or wall.




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          "Lowest floor" refers to the lowest floor of the lowest enclosed area (including Basement).
          For a typical slab-on-grade construction, the lowest floor is the top of the fust floor of the
          structure. For a typical basement foundation construction, the elevation of the lowest floor is the
          top of the basement floor. For a typical crawlspace foundation construction, the elevation of the
          lowest floor is the top of the first floor of the structure. For a typical split-level construction, the
          elevation of the lowest floor is the top of the first living area floor. For a manufactured home
          installation, the elevation of the lowest floor will be the bottom of the lowest I-Beam. The
          garage floor and crawlspaces are not the lowest floor as long as there are no living areas in the
          garage and it is used solely for storage, parking vehicle and entry to the structure, provided that
          such· enclosure is not built so as to render the structure in violation of the applicable non-
          elevation design requirements of Section 60.3 of the National Flood hlsurance regulations.

          ''Manufacture Homes" or Structures means a structure, transportable in one or n1ore
         sections, which is built on a permanent chassis and is designed for use with or without a
         permanent foundation when attached to the required utilities. The tenn ·'manufactured home"
         does not include a "recreational vehicle".

          "Manufactured Home Park or Subdivision" means a parcel (or contiguous parcels) of
         land subdivided into two or more manufactured home lots for rent or sale.

         ''Mean Sea Level'; (MSL) nieans, for the purposes of the NFIP, the National Geodetic
         Vertical Datum (NGVD) of 1929 or other datum1 to which base flood elevations shown on a
         community's FIRM are referenced.

          "Mixed Use Structures" are structures with both a business and a residential component, but
        · where the area used for business is less than 50% of the total floor area of the structure.

         "New Construction" means, for floodplain management purposes, structures for which the
         "start of construction" commenced on or after the date of a floodplain management regulation
         adopted by a community and includes any subsequent improvements to such stmctures.

         "New Manufactured Home Park or Subdivision,, - means a manufactured home park
         or subdivision for which the construction of facilities foi: servicing the lots on which the
         mmmfactured homes are to be affixed (including at a minimum, the installation of utilities, the
         construction of streets, and either fmal site grading or the pouring of concrete pads) is completed
         on or after the effective date of floodplain management regulations adopted by a community.

         "No Adverse Impact principle'' is a principle ofrestricting or prohibiting land
         development that does hann or "adversely affects" someone else's property or land.

         "Nonresidential Structures,, are structures used only for commercial or public purposes,
         such as businesses, schools, churches, etc ...

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          "No~Rise Certificates" are fonnal certifications signed and stamped by a Professional
         Engineer licensed to practice in the State of Arkansas, demonstrating through hydrologic and
         hydraulic analyses performed in accordance with standard engineering practiCe that a proposed
         development will not result in any increase in flood IeveJs within the conimunity during the
         occurrence of a base flood event.

         "Piers" are columns of masonry or other structural material (commonly cement blocks stacked
         up to support a manufactured home), usually rectangular, used to support other structural
         members. For the purpose of this ordinance, piers must be permanent in nature.

         "Pilings" are steel tubes driven to rock or a suitable soil bearing layer and connected to the
         foundation of a structure.

         ''Ponding" is a flooding effect where floodwaters accumulate in shallow depressions and
        linger until absorbed or evaporated.

        "Recreational 11ehicles,, means a vehicle which is:
                (i)  built on a single chassis;
                (ii) 400 square feet or less when measured at the largest horizontal
                     projections;
               (iii) designed to be self-propelled or permanently towable by a light duty truck; and
               (iv) designed primarily not for use as a permanent dwelling but as temporary living
                     quarters for recreational. camping, travel. or seasonal use.

        "Risk Zones" categorize special flood hazard areas into groupings by the specific risk of
       flooding. Zones A, AE or Al-30, AO~ and AH are Special Flood Hazard Areas. See "X Risk
       Zones" in this section.         ·

       "Riverine fldotfing" is flooding associated with a river or stream channel.

       "RV" is the acronym for recreational vehicle.

      "Screw augers" are any type of anchor that twists into -che soil, typically to a depth of 4 feet or
      more. They      are
                      not suitable for securing manufactured homes against floodwaters because
      saturated grounds often soften and fail to hold the anchor in place.

      "Section 404 Wetlands Permit" is a permit required under Section 404 of the Clean Water
      Act for the discharge of dredged and fill material into any surface water of the United States.
      The US Anny Corps of Engineers issues Section 404 permits.

      "SFHA" is the acronym for Special Flood Hazard Area.

      "Shallow flooding" means a depth ofless than 3 feet.
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         "Slab anchors" are anchors where the hook of the anchor is wrapped around a hodzontal
         rebar in the slab before the. concrete is poured.

         "Special flood hazard areas" are geographical areas identified on FEMA flood maps as
         being at-risk for flooding. The maps further categorize these areas into various flood risk zones
         A, AE or Al-30, AH, and AO.

         "Start of Construction'' includes substantial improvement and means the date the building
        pennit was issued, provided the actual start of construction, repair, reconstruction, rehabilitation,
        addition placement, or other improvement was within 180 days of the permit d.ate. The actual
        start means either the· first placement of permanent construction of a structure on a site, such as
        the pouring of slab or footings, the installatio11 of piles, the construction of columns, or any work
        beyond the stage of excavation; or the placement of a manufactured home on a foundation.
        Permanent construction does not include land preparation, such as clearing, grading and filling;
       nor does it include the installation of streets and/or walkways; nor does it include excavation for
       basement, footings, piers or foundations or the erection of temporary forms; nor does it include
       the installation on the property of accessory buildings, such as garages or sheds not occupied as
       dwelling units oi not part of the main structure. For a substantial improvement. the actual start of
       construction means the first alteration of any wall, ceiling, floor, or other structural part of a
       building, whether or not that alteration affects the external dimensions of the building.

       "State Coordinating Agency" is the agency that acts as a liaison between FEMA and a
       community for the purposes of :floodplain management. The Arkansas Natural Resources
       Commission is the State Coordinating Agency for Arkansas.

       "Stream channels" are depressed natural pathways through which water of any quantity
       routinely flows.

       "Structural development" is a development that includes the placement or construction of a
      structure.

      "Structure" means for floodplain. management pUiposes, a walled and roofed building,
      including a gas or liquid storage tank that is principally above ground, as well as a manufactured
      home.

      "Sub,stantial damage" is damage of any origin where the cost to restore a structure to its
     original undamaged state would equal or exceed 50% of the market value of the structure before
     any damage occurred. fu determining whether substantial damage has occuried, estimators must
     use standard contractor and materials costs. There are no exceptions for homeowners who make
     their own repairs or for discounted or free raw materials.



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                   "Substantial improvement" is any reconstruction, remodeling, addition or improvement to
                   a structu1·e with a cost equaling or exceeding 50% of the market value of the structure before any
                  improvement. Improvements to correct identified violations of local health, sanitary or safety
                  Codes are not substantial improvements, regardless of the cost, as long as they art; the rnin:imum
                  improvement necessru.y to bring the structure up to Code. Alterations to historical structures are
                  also exempt.ed, as long as the improvement does not affect the structure's official status of
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      co          "historical structure."
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       0          "Uses vul11erable to floods" are simply any land or strnctural uses that may be negatively
      ~           affected by a flood.                        ·
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~                 "Variaflce" iS a fonnaJ, written pennission from the Appeals Board to construct or develop in
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                  a way that is inconsistent with the requirements of this Code. The variance only deals with this
       ~         Code - the Appeals Board has no authority to waive any other governmental requirement, and
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                 has no say in the cost of flood itisurance.

                  "Violation." - means the failure of a structure or other development to be fuJly compliant with
                 the community's floodplain management reglllations. A structure or other development without
                 the elevation certificate, other certifications, or other evidence of compliance required in this
                 Code is presumed to be in violation ur1til such time as that d~ctimentaHon is provided.

                 "Watercourse alteration" refers to any change that occurs within the banks of a
                 watercourse.


                 "Water Surface Elevation" - means the height, in relation to the National Geodetic Vertical
                Datum (NGVD) of 1929 (or other danun, where specified), of floods of various magnitudes and
                frequencies in the floodplains of coastal or riverine.areas.



                "X Risk Zones" are a special group of insurance risk zones. One type, shown as non-shaded
                areas on FEMA issued flood maps, indicates a zone where flooding is not expected to occur.
                The second type, shown as shaded areas of FEMA flood maps, indicates a flood hazard area that
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 N1             iS expected to be affected by the 500-year flood, but not by the I00-year base flood.
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       .. SECTION E. PROCEDURES FOR vARIANCE FROM THE REQUIRMENTS OF nus
          CODE

               (1) Applicants must submit petitions for variances directly to the Appeal Board (Section E).

               (2) Variances may only be issued:

                      a) if showing a good and sufficient cause;

                      b) granting of the vatiance will not result in any adverse impact upon other lands;

                     c) if granting of the variance will not result in any additional threats to public safety;

                     d) if granting of the variance will not result in extraordinary public expense;

                     e) if granting of the variance does not create a nuisance, cause fraud on or
                        victimization of the public, or conflict with existing laws or ordinances;

                     f) if granting of the variance will not result Ul increased flood heights or an increase
                        in expected flood velocities;

                     g) if the requested variance is the minimum necessaiy, considering the flood hazards,
                        to afford the necessary relief; and

                    h) upon detennination that the requested variance is necessary to avoid an
                       extraordinary hardship to the applicant

           (3) Variances may not be issued for developments inside a regulatory floodway unless

                    a) all :r-equfrements of 44 CFR §65.12 are first met; or

                    b~ the following requirements are met:

                         1. a No-Rise Certificate signed and sealed by a Professional Engineer licensed
                            to practice in the State of Arkansas is submitted to document that no increase
                           in the base flood elevation would result from granting a variance for the
                           proposed development;
                        2. protective measures are employed to minimize damages during flooding
                           events; and
                        3_ the variance does not result in any adverse impact to other lands.

          (4) Examples of developments for which variance petitions may be appropriate include but
               are not limited to


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                       a) the new construction of, or substantial improvement to, a structure on a lot of 112
                          acre or less in size that is surrounded by contiguous lots with c:<xisting structures
                          constructed below the base flood elevation;

                       b) for the reconstruction, rehabilitation or restoration of an historical structure,
                          provided that:

                               I. the proposed repair or l'ehabilitation will not preclude the stmcture's
                                  continued designation as a historic structure; and
                               2. the variance is the minimum necessary to preserve the historic character
                                  and design of the structure.

                       c) the new construction of, substantial improvement to, or other development
                          necessary to conduct a functionally dependent use, provided that:

                              1. the criteria outlined in Article 2, Section E, (3) and (4) and Article 2,
                                 Section F are met, and
                              2. the structure or other development is protected by methods that minimize
                                 flood damages during the base flood and cream no additional threats to
                                 public safety.


            SECTION F. APPEAL BOARD

                 (1) Within { La,f(<"rence Cmmty }, Arkansas the{_ Qum·um Cmn'.t } is the designated
                     Appeal Board.

                 (2) The Appeal Board will consider an appeal only with allegations of an error in any
                     requirement, decision, or detennination made by the Floodplain Administrator in the
                     enforcement or administration of this Code.                ·

                 (3) Upon consideration of the factors noted in Article 2, Sections E and F, and the intent of
                     this ordinai:ice, the Appeal Board may attach such conditions to the granting of
                     variances as it deems necessary to further the purpose and objectives of this ordinance.

                 (4) Appeal Board decisions are binding only upon the requfrements of this Code, and have
                     no bearing on the decision of any lending institution to require the purchase of flood
                     insurance or on the rate determination of such insurance.




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                           (5) Any time the Appeal Board issues a variance, it must_provide the applicant with a
                               fonnal written warning of an increased risk of flood damage due to removal of
                               restrictions designed to lessen such risks. The notice must"also wam of a corresponding
                               increase in the cos_t of flood insurance, since the cost of such insurance will be
                               commensurate with the increased risk.                          .
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         LL               (6) Aggrieved parties may appeal any decision of the Appeal Board to a court of competent
       N                     jurisdiction.
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                                                  ARTICI..E 3 PROVISIONS FOR FLOOD HAZAIID REDUCTION


                              SECJ'ION A. GENERAL STANDARDS

       gs                 The following standards apply to all develogments in Special Flood Haz.ard Areas, regardless of
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       LL                 the fype of proposed development or the Risk Zone of the proposed site.
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                                       1.     All new construe.Hon or substantial improvements shall be designed {or modified)
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        N                                     an9 adequately anchored to prevent flotation, coilapse or lateral movemenl of the
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No_                                           structure resulting form hydrodynamic and hydrostatic loads, including the effects of
q                                             buoyancyj
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             I                         2.    All new construction or substantial improvements shall be constructed by methods
                                             and practices that minimize flood damage;

                                   3.        All new construction or substantial improvements shall be constructed with
                                             materials resistant to flood damage;

                                   4.        AU critical facilities constructed or substantially improved in SpecjaJ Flood Hazard
                                             Areas (SFHA) must be constructed or modified to exceed 500-year flood prntection
                                             standards Q! located outside the SFHA.

                                   5.       The placement 01· construction of all new structures must be in full compliance
                                            with the provisions of this Code

                                  6.        For the pUiposes of this Code, all mixed-use structures are subject to the more
                                            stringent requirements of residential structures.

                                  1.        A substantial improvement or substantial damage to an existing structure triggers a
                                            requirement to bring the entire strncture into fuU compliance with the provisions of
                                            this Code. The existing structure, as well as any reconstrnction., rehabilitation, addition,
 en                                         or other improvement, must meet the standards of new construction in this Code.
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                                  8.        Any improvement to an existing structure that is less than a substantial
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 ..-                                        improvement requires t4e improvement, but not the existing structure, to be iu

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                                            full compliance with the provisions of this Code.


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                    9.    All manufactured homes to be placed within a Special Flood Hazard Aiea on a
                          community's FIRM shall be installed using lnethods and practices which minimize
                          flood daniage. For the purposes of this requirement, manufactured homes must be
                          elevated and anchored to resist flotation, collapse, or lateral movement. Methods of
                          anchoring may include, but are not limited to~ use of over-the-top or frame ties to
                          ground anchors. This require1nent is in addition to applicable St.ate and local anchoring
                          requirements for resisting wind forces. Screw augers or expanding anchors will not
                          satisfy the requirement of this provision.

                    10.   The design or location of electrical, beating, ventilation, plumbing, and air
                          conditioning equipment for new structures, or for any improvements to an existing
                          structure, must prevent water from entering or accumulating within the components
                          during base flood events.

                    11.   The design of all new and replacement water supply systems must minimize or
                          eliminate infiltration of floodwaters into the system during base flood events.

                    12.   The design of all new and replaccm.en t sanitary sewage systems must minicn.ize or
                          eliminate infiltration of floodwaters into the system during flooding events, and ruust
                          prevent sewage discharge from the systems into floodwaters.

                    13.   The placement of on-site waste disposal systems must avoi~ impainnent to, or
                          contamination from, the disposal system during base flood events.

                    14.   Construction of basement foundations in any Special Flood Hazard Area is
                          p:robibited.

                    15. New construction and substantial improvements, with fully enclosed areas (such as
                        garages and crawlspaces) below the lowest floor that are usable solely for parking of
                        vehicles, building access or storage in an area other than a basement and which are
                        below the base flood elevation shall be designed to automatically equalize hydrostatic
                        flood forces on exterior walls by allowing for the entry and ex.it of floodwaters.
                        Designs for meeting th.is requirement must either be certified by a registered
                        professional engineer or architect or meet or exceed the following minimum criteria:

                           (a) A minimum of two openings on separate walls ha'tling a total net area of not less
                               than l square inch for every square foot of enclosed area snbject to flooding shall
                               be provided.

                           (b) The botton_i of all openings shall be no higher than 1 foot above· grade.

                           (c) Openings may be equipped with sc:(eens, louvers, valves, or other coverings or
                               devices provided that they permit the automatic entry and exit of floodwaters.
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                 16. The placement of recreational vehicles (RV) in Special Flood Hazard Areas must
                     either

                    (a) be temporary, as demonstrated by the RV being fully licensed, being on wheels or
                    a jacking system, attached to the site only by quick disconnect type utilities and
                    security devices, having no permanently attached additions, and being immobile for
                    no more than 180 consecutive days; or else

                    (b) meet all provisions ofthls Code applicable to manufactured home structures.

                  17. A;.II• proposals for the development of a residential subdivision, commercial
                     business park o:r manufactured home park/subdivision must have public
                     utilities and facilities such as sewer, gas, electrical and water systems located
                     and constmcted to minimize or eliminate flood damage.

                · 18. All proposals for the development of a residential subdivision, commercial·
                     bnsiness park Ok' a manuf'actnl'ed home park/subdivision must include an
                     adequate drainage plan to reduce ex.posure to flood hazards.

                 19. All proposals for the d~velopment of a commei-cial business park or a
                    manufactured borue park/subdivision must include an adequate evacuation plan
                    for the escape of citizens from affected nonresidential structures during flooding
                    events.



       S~CTION B. RISK ZONE SPECIFIC STANDARDS

      fu addition to the General Standards, the following standards apply to specific development types
      in specific Risk Zones. Risk Zones listed in this Code that do not appear on the current FIRM
      are not applicable.




                                  (I) In AE or Al-30 Risk Zones:
                     Special Flood Hazard Areas with base floods determined

                 a) For Residential Stmctures i:n Zone AE or Al~30:

                     1. For all new residential structures, the top surface of the lowest floor must have
                        an elevation L..J, fe~t m:..,.more } above the published BFE.. This elevation
                        must be documented on an Elevation Certificate properly completed by a
                        Professional Engineer, Surveyor or Architect licensed to practice in the State
                        of Arkansas.

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                           2. For all substantial improvements or substantial damage to existing residential
                              structures, the entire structure becomes subject to the requirements of a new
                              residential structure.

                          3. For any reconstruction, rehabilitation, addition, or other improvement to an
                             existing residential structure that is less than a substantial improvement, only
                             the improved area, but not the entire structure, becomes subject to the
                             requirements of a new residential structure.

                       b) Fol" Nonresidential Structures in Zone AE or Al-30:

                          1. All new commercial, industrial or other nomesidential structures must either:

                             a. have the lowest floor (including basement) elevat.ed { 2 feet or mot·e .}
                                  abQve the base flood level or
                             b. be floodproofed such that, together with attendant utility and sanitary
                                 facilities, be designed so that below {_ an ~kvation pf 3 feet above .}
                                 }the base flood _level the structure is watertight with walls substantially
                                 impermeable t<? the passage of water and with structural components
                                 having the capability of resisting hydrostatic and hydrodynamic loads and
                                effects of buoyancy.
                              c. A registered professional engineer or· architect shall develop ao.d/or
                                  review structural design, specifications, and plans for the construction,
                                  ~d shall certify on a Floodprooftng Certificate that the design and
                                  methods of construction are in accordance with accepted standards of
                                  practice as outlined in this subsection. A record of such certification
                                  which includes the specific elevation (in relation to mean sea level) to
                                  which such structures are floodproofed shall be maintained by the
                                  Floodplain Administrator.

                         2. For all substantial improvements or substantial damage to existing
                            commercial. industrial or other nonresidential structur~s the entire structure
                            becomes subject to the requirements of a new nonresidential structure.

                         3. For any reconstruction, rehabilitation, addition, or other improvement to an
                            existing nonresidential structure that is less than a substantial improvement,
                            only the improved area, but not the entire structure, becomes subject to the
                            requirements of a new nonresidential structure.




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                      c) For Manufactured Homes in Zone AE or-Al-30:

                         l. All manufactured homes that are placed or substantially improved on sites:

                            a.   outside of a manufactured home park or subdivision,
                            b.   in a new manufactured home park or subdivision,
                            c.   iu an expansion to an existing manufactured home park or subdivision, or
                            d.   in an existing manufactured home park or subdivision on which a
                                 manufactured home has incurred "substantjal damage" as a result of a
                                 flood, be elevated on a pennanent foundation such that the lowest floor of
                                 the manufactured home is elevated { 2 feet or more } above the base
                                 flood elevation and be securely anchored to an adequately anchored
                                 foundation system to resist flotation, collapse, and lateral moyement.

                        2. Require that manufactured homes be placed or substantially improved on sites
                            in an existing manufactured home park or subdivision on the community's
                            FIRM that are not subject to the provisions of paragraph (1.) of this section be
                            elevated so that either:

                            a. the lowest floor of the manufactured home is { 2 feet or more } above
                            the base flood elevation, or
                            b. the manufactured home chassis is supported by reinforced piers or other
                            foundation elements of at least equivalent strength that are no less than 36
                            inches in height above grade and be securely anchored to an adequately
                            anchored foundation syst(1m to resist flotation, collapse, and lateral movement.

                        3. For all substantial improvements or substantial damage to existing
                           manufactured home, the entire structure becomes subject to the requirements
                           of a new manufactured home.

                        4. For any reconstruction, rehabilitation, addition, or other improvement to an
                           existing manufactured home that is less than a substantial improvement, only
                           the improved area, but not the entire structure, becomes subject to the
                           requirements of a new manufactured home.

                    d) When a regulatory floodway has not been designated, the Floodplain
                    Admillistrator must require that no new construction, substantial improvements, or
                    other development (including fill) shall be permitted within Zones Al-30 and AE on
                    the community's FIRM, unless it is demonstrated that the cumulative effect of the
                    proposed deveiopment, when combined with aii other existmg and antld.pated
                    development, will not increase the water surface elevation of the base flood more than
                    one foot at any point within the community.


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                                                       (2) Floodways
                                High risk areas of stream channel and adjacent floodplain

                           a) Developments in regulatory floodways are prohibited, unless

                             1. A No-Rise Certific~te, signed and stamped by a Professional Engineer
                                 licensed to practice in the State of Arkansas, is submitted to demonstrate
                                 through hydrologic and hydraulic analyses performed in accordance with
                                  standard engineering practice that the proposed development would not result
                                  in any increase in flood levels within the community during the occurrence of
                                  a base flood event; Qt

                             2. All requirelll.ents of 44 CFR §65.12 are first niet.

                          b) No Manuf~cturcd Home may be placed in a regulatory floodway, regardless of
                             elevation height, anchoring methods, or No-Rise Certification.



                                             (3)In AH or AO Risk Zones:
                                 . Special Flood Hazard Areas of shallow flooding

                         a) For Residential Structures in Zones AH or AO:

                            1. All new residential structures must be constructed with the top surface of the
                               lowest floor elevated { 2 foet or more }·above the published BFE, or L.1
                               feet 03· mm·e } above the highest adjacent grade in addition to the depth
                               number specified (at least 2 feet if no depth number is specified) on the
                               community's FIRM. This elevation must be documented on an Elevation
                               Certificate properly completed by a Professional Engineer, Surveyor or
                               Architect licensed to practice in the State of Arkansas.

                           2. For all substantial improvements or substantial damage to existing residential
                              structures the entire structure becomes subject to the r.¢quirements of a new
                              residential stmcture.

                           3. For any reconstruction, rehabilitation, addition, or other improvement to an
                              existing residential structure that is less than a substantial improvement, only
                              the improved area, but not the entire structure, becomes subject to the
                              requirements of a new residential structure




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                     b) For Non:residential Stro.ctures in Zo:nes AR or AO:

                        1. All new commercial, industrial or other nonresidential structure must either:

                            a. have the top surface of the lowest floor elevated { 2 feet or more }
                                above the published BFE, or { 2 feet or more } above the highest
                                adjacent grade in addition to the depth number specified (at least 2 feet if
                                no depth number is specified) on the community's FIRM, with
                                documentation on an Elevation Certificate properly. completed by a
                               Professional Engineer, Surveyor or Architect licensed to practice in the
                                State of Arkansas; or
                           b. be t1oodproofed such that the stmcture, together with attendant utility and
                               sanitary facilities be designed so that below { 3 feet or more } above
                               the published BFE in Zone AH, or { ··~ 3 .fe~~ or pior~. _} above the base
                               specified flood depth in an AO Zone, the structure is watertight with walls
                               substantially impermeable to the passage of water and with structural
                              components having the capability of resisting hydrostatic and
                              hydrodynamic loads of effects· of buoyancy.

                       2. For all substantial improvements or substantial damage to existing
                          commercial, industrial or other nonresidential structures the entire structure
                          becomes subject to the requirements of a new nonresidential structure.

                      3. For any reconstruction, rehabilitation, addition, or other improvement to an
                         existing nonresidential structure that is less than a substantial improvement,
                         only the improved area, but not the entire structure, becomes subject to the
                         requirements of a new nonresidential structure.




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                                c) For Manufactured Hom.es in Zones AH or AO:

                                   l. All manufactured homes that are placed or substantially improved on sites:

                                      a.    outside of a manufactured home park or subdivision,
                                      b.    in a new manufactured home park or subdivision,
                                      c.    in an expansion to an existing manufactured home park or subdivision, or
                                      d.    in an existing manufactured home park or subdivision on which a
                                            manufactured home has incurred "substantial damage" as a result of a
                                           flood, be elevated on a pennanent foundation such that the lowest floor of
                                           the manufactured home is elevated { 2 feet oa· more } above the
                                           published BFE, or { . 2 feet or more } above the highest adjacent grade
                                           in addition to the depth number specified (at least 2 feet if no depth
                                           number is specified) on the community's FIRM, and be securely anchored
                                           to an adequately anchored foundation system to resist flotation, collapse,
                                           and lateral rn.ovement.

                                  2. Require that manufactured homes be placed or substantially improved on sites
                                     in an existing manufactured home park or subdivision on the community's
                                     FIRM that are not subject to the provisions of paragraph 1. of this section be
                                     elevated so that either:

                                     a. the lowest floor of the manufactured home meets the elevation standard of
                                        paragraph 1., or
                                     b. the manufactured home chassis is supported by reinforced piers or other
                                       foundation elements of at least equivalent strength that are no less than 36
                                       inches in height above grade and be securely anchored to an adequately
                                       anchored foundation system to resist flotation, collapse, and lateral
                                       movement.

                                  3. For all substantial improvements or substantial damage to existing
                                     manufactured home, the entire structure becomes subject to the requirements
                                     of a new manufactured home.

                                  4. For any reconstruction, rehabilitation, addition, or other improvement to an
                                     existing manufactured home that is less than a substantial improvement, only
                                     the improved area, but not the entire structure, becomes subject to the
                                     requirements of a new manufactured home.




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                         d) Where FEMA has not established a regulatory floodway in Zone in Zones
                             AH or AO, no Floodplain Development Permit may be issued unless a detailed
                            engineering analysis is submitted along with the application that demonstrates the
                            increase in base floodwater elevation due to the proposed development and all
                            cumulative developments since the publication of the current FIRM will be less
                            than l foot.

                        e) Require adequa.te drainage paths around structures on slopes, to guide flood
                            waters around and away from proposed structures.


                                             (4)1n "A" Risk Zones:
                       Special Flood Hazard Areas with no base flood elevations determined

                                                        or
                        a) In Zone A, The applicant the applicant's agent must determine a base
                           flood elevation pdor to construction. The BFE will be based on a source or
                           method approved by the local Floodplain Administrator.

                        b) ·For Residential Structures in Zone A;

                           1. For all new residential structures, ·the top surface of the lowest floor must have
                              an elevation { 2 feet m· more } above the BFE. This elevation must be
                              documented on an Elevation Certificate properly completed by a Professional
                              Engineer. Surveyor or Architect licensed to practice in the State of Arkansas.

                          2. For all substantial improvements or substantial damage to existing residential
                             structures, the entire structure becomes subject to the requirements of a new
                             residential struchu'e.

                          3. For any reconstruction, rehabilitation, addition, or other improvement to an
                             existing residential structure that is less than a substantial improvement, only
                             the improved area, but not the entire structure, becomes subject to the
                             requirements of a new residential structure.

                       c) For Nonresidential Structures in Zone A:

                          l _ All new commercial, industrial or other nonresidential structures must either:

                             a_ have the lowest floor (including basement) elevated    L.1 feet Cl!..filQ:!]_}
                                   above the base flood level or




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                                b. be floodproofed such that, together with attendant mility and sanitary
                                    facilities, be designed so that below { xn elcvEttion of 3 ~j!Q,ove }
                                    }the base flood level the structure is watertight with walls substantially
                                    impermeable to the passage of water and with structural components
                                    having the capability of resisting hydrostatic and hydrodynamic loads and
                                   effects of buoyancy.
                                c. A registered professional engineer or architect shall develop and/or review
                                   structural design, specifications, and plans for the construction, and shall
                                   certify on a Floodproofing Certificate that the design and methods of
                                   construction are in accordance with accepted standards of practice as
                                   outlined in this subsection. A record of such certification which includes
                                   the specific elevation (in relation to mean sea level) to which such
                                   structures are floodproofed shall be maintained by the Floodplain
                                   Administrator.

                           2. For all substantial improvements or substantial damage to existing
                              commercial, industrial or other nonresidential stractures the entire structW'e
                              becomes subject to the requiryments of a new nonresidential structure.

                           3. For any reconstruction, rehabilitation, addition, or other improvement to an
                              existing nonresidential structure that is less than a substantial improvement,
                              only the improved area, but not the entire structure, becomes subject to the
                              requirements of a new nonresidential structure.

                        d) For Manufactured Homes in Zone A:

                           1. All manufactured homes that are placed or substantially improved on sites:

                               a.    outside of a manufactured home park or subdivision,
                               b.    in a new manufactured home park or subdivision,
                               c.    in an expansion to an existing manufactured home park or subdivision, or
                               d.    in an existing manufactured home park or subdivision on which a
                                    manufactured home has incurred "substantial damage" as a result of a
                                    flood, be elevated on a permanent foundation such that the lowest floor of
                                    the manufactured home is elevated { 2 feet or more } above the base
                                    flood elevation and be securely anchored tp an adequately anchored
                                    foundation system to resist flotation, collapse, and lateral movement.




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                      2. Require th.at manufactured homes be placed or substantially improved on sites in
                         an existing manufactured home park or subdivision on the commwlity's FIRM
                         that are not subject to the provisions of paragraph (1.) of this section be elevated
                         so that either:

                         a. the lowest floor of the manufactured home is {~;!Jttt...9!:..1!!2!£_} above
                            the base flood elevation, or
                         b. the manufactured home chassis is supported by reinforced piers or other
                            foundation elements of at ·least' equivalent strength that are no less than 36
                            inches in height above grade and be securely anchored to an adequately
                            anchored foundation system to resist flotation, collapse, and lateral
                            movement.

                     3. For all substantial improvements or substantial damage to existing
                        manufactured home, the entire structure becomes subject to the requirements of
                        a new manufactured home.

                    4. For any reconstruction, rehabilitation, addition, or other improvement to an
                       existing manufactured home that is less than a substantial improvement~ only
                       the improved area, but not the entire structure, becomes subject to the
                       requirements of a new manufactured home.

                 e) Base flood elevation data and a regulatory floodway, utilizing accepted
                    engineering practices, shall be generated for subdivision proposals and other
                    proposed development including the placement of manufactured home parks and
                    subdivisions which is greater than SO lots or 5 acres, whichever is lesser, if not
                    otherwise provided.




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Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 159 of 174




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      Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 160 of 174



         "'-                                        PPGMR LAW, PLLC


      PPGMR
                                                    101 MORGAN KEEGAN DRIVE, SUITE A ( LITTLE ROCK, AR 72202
                                                    P.O. BOX 251618 I UTILE ROCK, AR 72225-1618
                                                    TEL: (501) 603-9000 I FAX: (501) 603-0556 I PPGMRLAW.COM
          ~LAW                                      UTILE ROCK I EL DORADO




                                                    MICAH GOODWIN
                                                    MICAH@PPGMRLAW.COM




                                        September 8, 2016

Mr. Dale Freeman
Lawrence County Judge
315 W. Main
Room 1
Walnut Ridge, AR 72476

re:    Lawrence County Road 717 Bridge

Dear Mr. Freeman,

I am writing to request a copy of any and all memoranda, documentation, letters, notes, and quorum
court minutes addressing the Lawrence County Road 717 bridge, in accordance with the Arkansas
Freedom of Information Act. In particular, I request copies of any and all documentation
concerning the construction plans for this bridge (including engineering or architectural reports),
as well as any and all communications with the U.S. Army Corp of Engineers or other
governmental body concerning the bridge's construction or modification in any way. If no
engineering or architectural reports for this bridge exist, please note as such in your response.

PDF or other electronic format is preferred, if possible. If electronic copies are not available,
please let me know if copying and shipping costs will exceed $50.

Thank you for your attention to this matter. Please call or email if you have any questions.

                                                              Sincerely,

                                                                 ~~
                                                              Micah Goodwin

cc:    Mr. Dick Jarboe




                                                                                            Exhibit 17
Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 161 of 174




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           Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 162 of 174




                                       STATE OF ARKANSAS
                                    Lawrence County Courthouse
Dale Freeman                            315 W. Main, Room 1                                     (870) 886-1110
County Judge
                                       Walnut Ridge, AR 724 76                             FAX: (870) 886-1125




      September 16, 2016



      Ms. Micah Goodwin
      PPGMR Law, PLLC
      P.O. Box 251618
      Little Rock, AR 72225-1618

      Re: Lawrence County Road 717 Bridge

      Dear Ms. Micah Goodwin

      Enclosed is the information Lawrence County has on Lawrence County Road Bridge 717.

      County Judge Dale Freeman had an automobile accident and is off work at this time.

      Thank You,

      ~@~~
      Ann Pulliam
      Lawrence County Judge's Office




                                                                                            Exhibit 18
    Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 163 of 174



                                DEPARTMENT OF THE ARMY
                             MEMPHIS DISTRICT, CORPS OF ENGINEERS
                                 167 NORTH MAIN STREET B-202
                                MEMPHIS, TENNESSEE 38103-1894


        REPLY TO
                                        Mayl3,2003
        ATTENTION OF:
Regulatozy Branch



Honorable Alex Latham
Judge, Lawrence County
Lawrence County Courthouse
Walnut Ridge, Arkansas 72476

SUBJECT: Unauthorized County Road Bridge Across Cache River Ditch

Dear Judge Latham:

     This letter is in regard to your county road crossing project near Sedgwick, Section 4,
Township 15N, Range 2E in Lawrence Collllty, Arkansas, at approximate latitude 35-57-52.1907
and longitude 90-52-31.0112 on the Podo Creek 7.5 minute quadrangle map. A compliance
inspection was conducted on April 30, 2003. Based on the inspection, you are now considered in
compliance with Sections 301 and 404 of the Clean Water Act (33 U.S.C. Sections 1311 and 1344).

      Per our correspondence dated June 8, 2001, the bridge crossing meets the requirements of
Nationwide Permit No. 14 provided that the enclosed conditions are met. Please pay special
attention to the general permit condition number 21 (Management of Water Flows). The crossing
shall be maintained and debris shall be removed as needed to allow for the passage of normal or
expected high flows.

    A copy of this letter has been furnished to the Natural Resources Conservation Service in
Walnut Ridge, Arkansas; USFWS in Conway, Arkansas; EPA in Dallas, Texas; and Mr. Houston,
Houston Law Firm, PO Box 3076, Jonesboro, Arkansas.

   If you have questions, contact Gregg Williams at (901) 544-3852, and refer to File
Number 200109011.

                                               Sincerely,


                                                .tk.1 &. lf~J
                                                LarryD. Watson
                                                Chief
                                                Regulatozy Branch

 Enclosures
                  Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 164 of 174
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                                                    DEPARTM~NTOFTHEARMY
                                                 MEMPHIS DISTRICT, CORPS OF ENGJNE:ERS
                                                     1 c7 NORTH MAIN STREET B-202
                                                    MEMPHIS, TENNESSEE 3010,'J.1!194

                     REPLY TO                              October 30, 2002
                     ATTE;NTION OF:


            Regulatory Branch



            Honorable· Alex Latham.
            Judge, Lawrence County
            Lawrence Cotmty Courthouse
            Walnut Ridge, Arkansas 72476

            SUBJECT: Unauthorized County Road Bridge Across Cache lUver Ditch

            Deru· Judge Latham:

                 This letter is in regat'd to your county road orossi11g project near Sedgwick, Section 4,
           Township 15N, Range 2E in Lawrence Cow1ty, Arkansas, at approximate latitude 35-57-52.1907
           and longjLude 90-52-31.0112 011 the Podo Creek 7.5 mimite quadrangle map. A county road bridge
           across Cache River Ditch was replaced with fom boxcar culverts that impede and res1:!.·ict flow,
           Hydrat1lic analysis indicates potential adverse flooding t1psti·eam. The footprint of fill or direct
            adverse impact to waters of the U.S. is apprnxinmtdy 0.13 acl'es. You are in violation of
            Sections 301 and 404 of the Clean Water Act (33 U.S.C. Sectiot1B 1311 and 1344).

                 You have been previously iirfonned. that you may install anothei- 8-foot-diametel' culvert at
           the bottom elevation of the channel or remove alJ fill fllld install a bridge. If a written agree1Ueut
           to install another culvert or construct a bridge is not received by November I 5, 2002, i11iiial civil
           prosecution will begin.

                A copy of this fotter has been furnished to the Nnt11rnl Resources Conservation Service in
           Walu.ut Ridge, Arkansas; DSFWS il1 Co.away, Ai'kcmsas; EPA it1 Da:Has, Texas; and Mr. Houston,
           Houston Law Fi11.n, PO Box 3076, Jonesporo, Arkansas.

               lf ymi fowe questions, co11tact fody 0, DeLoadi at (901) 544-0737, and refol' to Flle
           Nuniber 200l090l 1/Cache 2001-01 l(JO).

                                                                  Sincerely,




                                                                  Jack V. Schetor
                                                                  Colonel; Corps ofEngi11eers
                                                                  District Engineer
        Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 165 of 174



                ARKANSAS OFFICE OF EMERGENCY
                          SERVICES
                 ACT 411/752 PROJECT APPLICATION
COUNTY
    Lawrence
                                     COUNTY JUDGE/MAYOR
                                      Alex A. Latham
                                                                               POINT OF CONTACT
                                                                                County Judge1s 1-870-886-1110
                                                                                                                ITELEPHONE#

                                                                                Office
CATEGORY
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IStTEo~                  - -,          LOCATION (BE SPECIFIC)
                                        Bridge #14507, 1 mile South of Hwy. 63 Sedgwick
                                        on County Road 717
I
lNSPECTOR                                                                   II             DA TESURVEYED                            •             I
DESCRIPTION OF PROJECT, COST BREAKDOWN AND SCOPE OF WORK



                 See Attachment




    TOT AL COST OF PROJECT

                                                                                                                :.:..---__.>
    I   $52,895.06                              1




TIIIS          PROJECT SHOULD BE COMPLETED WITHIN 6 MONTHS AFTER APPROVAL OF FCJNDS.
                     Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 166 of 174
                                                                                                                                                   1
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                            SUMMARY OF DOCUMENTATION IN SUPPORT OF AMOUNT CLAIMED
                                          FOR ELIGIBLE DISASTER WORK

P    'T4ICA.NT: ~ G:l..lnty
                ~~-=--~~~~~~~ GOV'h S EP if

  Applicant's                                                                                                                        AMOUNT
                                                                     DOCUMENTATION
Reference No.     Delivery date                                                                                          Line item in          Appt1canrs
                                       List documentation (Applicant's payroll. material out ol applicant's stock,
   (Warrant.      of article• or                                                                                       Approved Project          Eli~:OI•
                                       aoo1icant owned eouipment and name of vendor or contractor) by cateoory
Voucner. Claim    performance                                                                                            Appticatton              Cc st
                                       and line item in the approved project application and give a oriel deocrip·
      or           of service•         tion of tne articles or services.
scnedule No.I                                                                                                              Dollars            Dollars       \ Can:s

                                   Jd:l Site #2
                                   G:unty R::Erl 717 - ~ck
                                   wast ca:re Ditch - Bdd:e #14W7

                                   llabJr:'

    L-2          8-1-97            412 H::urs@ $8.23--------------------------                                                              $3' 390.f76
                 'Ihru             93 H::urs@ $10.00--------------------------                                                             ---$ 930 Joo
                 8-27-97
                                                                        'Ittal I..al::or   =$432D. 76
                                   Rpipra1t - Arpl j cant CN.tBi
    E-2          8-1-97             (5)    D.np Tru:ks fcy 175tp - 180 H::urs@ $13.00-------                                              - $ 2' 340.100
                 'Ihru              (1)    EXravatrr 100:.y- 60 H::urs@ $30.00------------                                                 -$1,800.00
                 8-27-97            (1)    EXravatrr ~ - 16 H::urs@ $23.00------------                                                     ---$368. 00
                                    (1)    Ftraran's Tru::k &::y- 72 H::urs@ $16.00---------                                              -$1,152.00
                                    (1 )   Ial:arers Tru::k 1 'Itn - 60 H::urs @ $9 .50- - - - - - - - -                                  --- $570. 00
                                    (3)    PicXq:s &::y- 100 H::urs@ $16.00--------------                                                  -$1,600.00
                                    (1)    Eq..rip'lrot 'f'ri:iilcr - 4 H::urs@ $8.50------------                                          ----$34.00
                                    (1)    w::icer SB:p- 21 H::urs@ $7.00---------------                                                  ---$147. 0
                                    (1 )    072-A Jdn Dsere Gr3:Er 210fp - 16 H::urs @ $31 .00- -                                           --$496. po
                                    (1)    720 Oarrpim Gl::a:Er 21~ - 16 .H:m:s @$31~00-----                                              ---$496. bo

                                                                         filTill B:]uiprr3:d:   =$9003.00
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                 'lhru
                 8-27-97'           CEl:tifurl strel- ------ - ---- - - --- -- ----- -- _                            -:_i-------- -II            $ 6 4 s .161
                                    Flat strel ,. . $602. 75 + $42. 92 tax
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                                    127 J..a:ds r:ip:ap = 1668.02 tr:rn @ $4.32 a ten+ $369.30
                                    ~          Btct:lers----------------------------1----------11                                             $ 6' 392.123
                                    102 s::J. yds. cm:::r:ete       @$58.50      a   xu. + $425.23 tax
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                                    TOTAL        COST-------~-~:-~~~~~--~---------                                                         $51 , 659.i3 4
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      Case 3:17-cv-00272-DPM Document 1 Filed 10/10/17 Page 167 of 174




JOB SITE #2  Sedgwick - County Road 717 - West Cache Ditch
BRIDGE #14507, 1 mile South ofHwy. 63 Sedgwick on County Road 717

Replace 100' x l 61 wood bridge with (4) 816 11 x 40' + 20' extension Railroad tank cars
To provide safer bridge for school bus traffic, mail carriers & heavy farm equipment


                                           MATERIALS

(4) Railroad tank cars 816 11 x 60'@ $5400.00 each= $21,600.00
150 square yards of concrete@ $66.00 a sq. yd.= $9,900.00
(4) rolls of concrete wire@$44.00 a roll= $176.00
150 loads of200# riprap - 14 tons a load= 2100 tons@ $5.46 a ton= $11,466.00
8 posts@ $9.95 each= $79.60
8 signs@ $19.50 each= $156.00
TOTAL MATERIALS= $43,377.60

                                               LABOR

(5) Truck Drivers - 4 days x 8 hrs. a day= 32 hrs. x 5 = 160 hrs. x $8.23 = $1,316.80
(2) Excavator Operators - 5 days x 8 hrs. a day= 40 hrs. x 2 = 80 hrs. x $8.23 = $658.40
(1) Foreman - 5 days x 8 hrs.= 40 hrs. x $10.00 = $400.00
(4) Laborers - 5 days x 8 hrs.= 40 hrs. x 4 = 160 hrs. x $8.23 = $1,316.80
(1) Welder - 8 hrs. x 4 tank cars= 32 hrs. x $10.00 = $320.00
(1) Driver for equipment tractor trailer= 2 hrs. x $8.23 = $16.46
TOTAL LABOR= $4,028.46

                                            EQUIPMENT

(1) Excavator 100 cy - 5 days x 8 hrs. a day= 40 hrs. x $30.00 = $1,200.00
(1) Excavator 50 cy - 5 days x 8 hrs. a day= 40 hrs. x $23.00 = $920.00
(1) Equipment Trailor - 2 hrs. x $8.50 = $17.00
(1) Truck Tractor - 2 hrs. x $14.00 = $28.00
(5) Dump Trucks 6 cy 175 hp 4 days x 8 hrs. a day= 32 hrs. x 5 = 160 hrs. x $13.00 = $2080.00
(1) Foreman's Truck - 8 cy 5 days x 8 hrs.= 40 hrs. x $16.00 = $640.00
(1) Laborers' Truck 1 ton - 5 days x 8 hrs.= 40 hrs. x $9.50 = $380.00
(1) Welder 56 hp - 8 hrs. x 4 tank cars= 32 hrs. x $7.00 = $224.00
TOTAL EQUIPJ\1ENT = $5,489.00

 TOTAL COST= $52,895.06
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